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            BEFORE THE REHABILITATION SERVICES ADMINISTRATION
                        DEPARTMENT OF EDUCATION


OKLAHOMA DEPARTMENT
OF REHABILITATIVE SERVICES

                       Complainant


               Vs.                                                 Case No. RS/18-09


THE UNITED STATES DEPARTMENT OF THE ARMY,
FORT SILL

                  Respondent
______________________________________________________________________________
Appearances:

For the Complainant:
                                     Peter A. Nolan, ESQ.
                                     Winsted P.C.
                                     Andrew J. Schumacher, ESQ.
                                     Winsted P.C.


For the Respondent:
                                     Shawn C. Butler ESQ.
                                     Army-Advisor (Contracts)
                                     Kevin D. Cox, ESQ.
                                     Mission and Installation Contracting Command,
                                     U.S. Army

Interested Parties
                                     Alan Grayson, ESQ.,
                                     for Mitchco International, Inc.

                                     Bryan N.B. King, ESQ.,
                                     Fellers Snider
                                     for David Altstatt Sr., and Cantu Services, Inc.




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                           DECISION OF THE ARBITRATION PANEL

                                             INTRODUCTION

       Congress passed the Randolph-Sheppard Act (RSA) in 1936 to provide blind persons

increased employment opportunities through the operation of vending facilities on federal property.

20 U.S.C. §107(a) and (b). The RSA was amended in 1974, and implementing regulations were

enacted in 1977 at 34 Code of Federal Regulation ( C.F.R. ) 395.1 et seq. The Department of

Education regulations have not been amended since their inception in 1977.

       The United States Department of Education (DOE) administers the RSA, and the Secretary

of Education designates state licensing agencies to license blind persons to operate vending

facilities. The Complainant, Oklahoma Department of Rehabilitation Services (ODRS), is the State

Licensing Agency (SLA) for Oklahoma.

       Under the RSA, blind vendors do not apply directly for government contracts. Id.§107a(a)(5).

The RSA provides for blind individuals licensed by an SLA to operate vending facilities on Federal

and other property,1 The SLA in turn applies for contracts (or permits for locations other than

cafeterias)2 involving the operation of vending facilities. 34 C.F.R. §395.33. The State Licensing

Agencies bid for particular federal contracts, and then assign blind vendors to operate the facility. 3

See id. §§395.2-395-17. A cafeteria contract is awarded in the name of the SLA and managed by the

blind manager licensed by the SLA. 34 CFR § 395.33(b).

       Military dining facilities, including the dining facility at Fort Sill, are vending facilities to

which the RSA's priority applies. 20 U.S.C. §§ 107e(7), 107d-3(e); 34 C.F.R. §§ 395.1(d), 395.33;



1
       20 U.S.C. § 107a(b), 20 U.S.C. § 107d-4.
22
       34 C.F.R. § 395.16.
3

                                                                                                    The


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NISH v. Rumsfeld, 348 F.3d 1263, 1270-71 (10th Cir. 2003); NISH v. Cohen, 247 F.3d 197, 204-06

(4th Cir. 2001). Under 20 U.S.C. § 107d-3(e), Congress established regulations for establishing a

priority for blind vendors as follows:

          The Secretary, through the Commissioner, shall prescribe regulations to establish a
         priority for the operation of cafeterias on Federal property by blind licensees when he
         determines, on an individual basis and after consultation with the head of the
         appropriate installation, that such operation can be provided at a reasonable cost with
         food of a high quality comparable to that currently provided to employees, whether
         by contract or otherwise.

         The DOE is the agency charged with not only implementing the Act, but also enforcing the

Act when federal agencies seek to limit the economic opportunities for the blind. 20 U.S.C. § 107(b).

This provision provides that a

on a finding that such placement or operation would adversely affect the interest of the United States

shall be fully justified

         The DOE has explained how it fulfills its congressionally mandated duties to enforce the Act

in its manual, the Administration of the Randolph-Sheppard Vending Program by Federal Property
                                      4
Managing Agencies                         which provides:

          4.c. Limitation on Placement or Operation of a Vending Facility - In essence, the
         final paragraph of Section 1 is clearly intended to preclude an arbitrary or unjustified
         decision on the part of a FPMA to not allow or unduly curtail the operation of a
         vending facility on Federal property. Any supportable position to do so specifically
         must be justified in writing to the Secretary, ED. The Secretarial Determination on
         the issue is binding upon the FPMA and requires publication in the Federal Register.
         Substantiation would be required to support such a written justification for a
         "limitation

         The DOE has provided guidance to federal property managers on how the priority is afforded

the blind vendor in a competitive bidding process.

         In order to establish the ability of blind managers to operate a cafeteria, the appropriate SLA



4
 The Army points out that this is not a Regulation, since it was not published in the Federal Register, but a Policy
Statement giving guidance explaining how it fulfills its congressionally mandated duties to enforce the RSA.
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should be invited to respond to solicitations for offers when a cafeteria contract is contemplated. 34

CFR § 395.33(b). If the Army determines that the State can provide the service and has a reasonable

chance of being selected for award, the State is placed in a competitive range.

       In this case, ODRS filed a Complaint with the DOE alleging that the Army violated provisions

of the RSA. Pursuant to the RSA, the DOE convened a panel to hold a hearing to examine the

allegations in the Complaint and provide the DOE a decision on its Finding of Facts and Conclusions

of Law. Mr. Steven Fuscher, Ms. Susan Gashel, and Mr. Jerry Sellman, as Chair, were appointed to

the Panel. This matter comes before the Panel pursuant to 20 USC 107d-1 (b) and CFR 395.37. A

hearing was held in the above matter on January 14-16, 2020, at Fort Sam Houston in San Antonio,

Texas. The parties, as well as designated interested persons, were given the full opportunity to present

testimony and evidence. The hearing was transcribed by a court reporter, and the parties received the

transcript of the hearing on or about January 31, 2020. The parties then submitted post-hearing briefs

and Reply Briefs, and the record was closed on May 10, 2020. The Panel has considered the

testimony, exhibits and arguments of the parties in reaching its decision.

                                   STATEMENT OF THE CASE

       The DOE, on April 12, 2019, charged the panel to address the following two issues:


       dining facility services with the Oklahoma SLA is a limitation on the placement or operation
       of a vending facility that must be justified to the Secretary of Education under 20 U.S.C. §
       395.30(b), and then, whether the Army violated the Randolph Sheppard Act (RSA)(Act) at
       20 U.S.C. §107(b) and implementing regulations 34 C.F.R. §§395.30(b) and 395.33(b) by not
       exercising its third option year on its contract with the Oklahoma SLA (placing a limitation
       on the operation of a vending facility) and issuing a new FFS solicitation, without fully
       justifying to the Secretary its decision that such operation of a vending facility (i.e., the
       continued operation of the Oklahoma SLA contract) would adversely affect the interests of
       the United States. (Arbitration Count No.1 in ODRS Complaint).

       Issue 2. Whether the Army violated 20 U.S.C. §107d-3(e) of the RSA and 34 C.F.R. §§395.
       33(a) and (b) by failing to judge the proposal received from the Oklahoma SLA (ODRS) to
       be within the competitive range on solicitation W9124J-18-R-0024 for dining facility services


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at Fort Sill and to be ranked among those proposals which have a reasonable chance of being
selected for the final award. (Arbitration Count Nos. 3,4,5,6.in ODRS Complaint).

The issues before the panel are based on the following counts alleged by ODRS:

Count 1. The Oklahoma SLA (ODRS) alleges that the Army engaged in several actions that
violated the RSA and its implementing regulations at 34 C.F.R. part 395. ODRS was awarded
the most recent contract for cafeteria services at Fort Sill by the Army. That contact included
one base year and four options years. After ODRS performed two years of that contract, the
Army decided to exercise its option to opt out of the rest of the contract and subsequently
issued Solicitation W9195-18-R0024 in the third year, applying the priority under the Act.
At that point, the Oklahoma SLA filed a request for arbitration on April 19, 2018, alleging
that before exercising the option to decline further option years on the contract with the
Oklahoma SLA, the Army was required under Section 107(b) of the Act and 34 C.F.R.
§394.30(b) to fully justify in writing to the Secretary of Education (Secretary) its limitation
on the continued operation of a vending facility by a blind manager. Oklahoma alleges the
Army did not do so.

Count 2. On November 29, 2018, ODRS amended its request for arbitration, alleging that the
         Solicitation W9195-18-R0024 for its full food service (FFS) contract at Fort Sill
violated Section 107d-3(e) of the Act and 34 C.F.R §395.33(a) by allowing the Army to award
the contract to a vendor other than ODRS if the Army determines that the SLA is outside the
competitive range without first consulting the Secretary.

                                                     111 million program price ceiling was
arbitrary and failed to consider whether the SLA can operate the Fort Sill dining facility at a
reasonable cost.

Count 4.                                            garding the terms of the solicitation was

SLA.

Count 5. Although ODRS submitted a bid for the contract, the SLA was informed, on March
14, 2019, that it was eliminated from the competition. A second amended complaint and
request for arbitration followed on March 22, 2019, which complied all previously alleged
claims and added three new ones. ODRS alleges that the Army violated Section 107d-3(e)
of the Act and 34 C.F.R. §395.33(a) and (b) because, in finding the proposal outside the

proposal.

Count 6.                                                                                rovide
services at a reasonable cost.

Count 7. ODRS alleges that the Army violated Section 107d-3(e) of the Act and 34 C.F.R.
§395.33(a) by failing to consult with the Secretary after determining that ODRS was outside
the competitive range but before it awarded the contract to a vendor other than the SLA
(ODRS).

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                  Arbitration Counts No. 2 and 7 are not within the scope of this Arbitration
           pursuant to a finding by the Secretary of the Department of Education that Section

           SLA is judged to be within a competitive range and has been ranked among those
           proposals which have a reasonable chance of being selected for final award. If a
           federal agency finds an SLA outside the competitive range, and the SLA determines
           that the Federal agency is failing to comply with the Act or its implementing

           done here. See 20 U.S.C. §107d-1(b).


                                                FINDING OF FACTS

           The Parties did not agree to a Stipulation of Facts prior to the start of the hearing. Therefore,

the panel relies on the following facts to state its final decision.

           This proceeding involves the awarding of cafeteria services at Fort Sill in Oklahoma. Fort

Sill is one of the Army's largest and most active military installations in the United States. It currently

has six (6) Dining Facilities ( DFACs ) in different levels of operation. The DFACs located in

Buildings 2755, 3720, 5965, and 5966 are receiving full contractor support, to feed Soldiers of the

Fires Center of Excellence, Soldiers in basic training, other tenant organizations, and associated units.

The DFAC located in building 3443 is currently only receiving limited contractor support. While the

DFAC located in building 2811 is not currently being used for food services. The scope of the

cafeteria services is brought into perspective by the fact that from January 2018 through January

2019, 4,556,117 meals were prepared and served.

           From October 1, 2001 to September 30, 2015, ODRS, through a licensed blind vendor and

his teaming partner, provided cafeteria services at Fort Sill for multiple dining facilities. Each

contract covered all of the dining facilities and was for five (5) years, consisting of a base year with

four one-year options.5 Initially, on the current contract, ODRS used Mr. Robert Brown along with

his partner, Blackstone, to manage the contract.


5
    See R/S 15-10, September 2, 2016, available at https://www2.ed.gov/programs/rsarsp/arbitration-decisions/r-s-15-
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         In preparation for the next five-year period, the Army divided the dining facilities into two

groups and issued two solicitations. However, the Army sought to limit the application of the RSA

to apply to only one of the solicitations (Arbitration Decision at FOF 22).

         ODRS requested that both solicitations comply with the RSA on December 15, 2014, but the

Army denied its request on January 12, 2015 (Id. at FOF 49).

         On February 3, 2015, ODRS contested the actions of the Army and requested an arbitration

panel be convened to adjudicate the matter (Id. at FOF 57).

         On December 23, 2016, the arbitration panel found that the Army violated the RSA.

         In compliance with the ruling of the arbitration panel, a new five-year contract was awarded

to ODRS on April 1, 2016, (W9124L-16-D-0001) ( 2016 Contract ) with a base year period with

four one-year options for most of the dining facilities. Therefore, if all four option years would have

been exercised under the 2016 Contract, then ODRS would have performed at Ft. Sill through March

31, 2020. One remaining dining facility continued to be operated by ODRS under the provisions of

the previous contract from 2009. (W9124J-09-D-0003) ( 2009 Contract ).

         In 2017, Ft. Sill believed it had relationship problems with the blind manager, Robert

Brown, and rated his management on the 2016 Contract as unsatisfactory from April, 2016 through



                                                              n August 1, 2017, ODRS replaced the

management team on both contracts with a new manager, David Altstatt (Altstatt), and his new

teaming partner, Cantu Services, Inc. (Cantu) Cantu remained as the teaming partner with David

Altstatt until th                                   Army.

         When the Altstatt/Cantu team took over on August, 1, 2017, it did not have a typical phase-

in period associated with a new contractor, but was judged as an existing contractor. Even this was a


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new licensed blind vendor and a new teaming partner, the Army considered the provision of service

to be on-going, since the contracts were with ODRS.

        Contractors providing cafeteria services are subject to inspections to determine compliance

with contract requirements. At Ft. Sill, th

monthly, unscheduled inspections at the dining facilities operated by ODRS and its team members.

                                                                       .                        during

recent past operations of ODRS

                                                                             .

                                                                                 also conducts regular

inspections, which are                                                                       . Prior to

providing services at Ft. Sill, Cantu had provided cafeteria services at other Army facilities for a

number of years. In a confidential survey, the FMAT at Ft. Sam Houston indicated that Cantu and its

SLA teaming partner had performed services at Ft. Sam Houston in a satisfactory performance

manner across all functional areas.

        Ft. Sill had its own Contracting Officer Representative (COR) that was responsible for

conducting inspections of the dining facilities for contract compliance. When the Altstatt/Cantu team

started performing services in August 2017, an inspection team under the direction of COR Buchanan

was responsible for                                     and began conducting inspections of the dining

facilities.

        From August through December, 2017, ODRS received Contract Discrepancy Reports (CDR)

every month. Each report included a threatened deduction for non-compliance with the contract.

Upon receipt of each CDR, ODRS responded in writing to the Contracting Officer (CO) Ms.

Abraham, indicating that the inspections were overzealous and the inspection methodology were not

consistent with the requirements of the contract.

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                                                                           tions (letter dated October

11, 2017: letter dated October 16, 2017; letter dated December 11, 2017; letter dated January 11,

2018; letter dated March 26, 2018; letter dated September 6, 2018); and letter dated October 22,

2017.) Examples of the basis for complaining were:

           Defects were given for failing to enter certain information into the computer
           system, even though ODRS complained that the 72-hour window to enter this
           information had not expired;

           A shift leader did not sign a production form, which is a correctible administration
           error, not a defect;

           A correction was made on a production form and there was no corresponding set
           of initials marking the correction;

           An observed defect for accumulation of grease and dirt in the dish room, even
           though ODRS complained that the inspectors did not give it the 90 minutes after
           a meal period allotted by the contract to clean this area;

           Repeated citations for pest infestation, even though ODRS complied with its
           obligation to put down boric acid and the pest control was managed as an
           integrated program which included work performed by another contractor and the
           government over which they had no control; and,

           Inspections were being conducted over a 7+ hour periods, which was unusual and
           indicative of a concerted effort to find a minor deficiencies).

       After discussing these CDRs with Ms. Abraham, no action was taken and no deductions were

made. When Ms. Abraham was asked on cross examination at the hearing if she independently

                                            bout Mr. Buchanan and his investigation team were true,



work. Eventually she admitted that she did not understand what constituted a proper inspection under

the contract.

       Throughout 2018, while inspections continued, the Army did not issue any CDRs to ODRS.

       In January 2018, ODRS Managers were given completed Inspection forms that contained the


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instruction of ODRS, the Managers would acknowledge receipt of the inspection results, but sign



ODRS noted that it disagreed with

                                        acknowledge and understand deficiencies noted

did not consider it a deficiency. It would have been an inaccurate and untruthful acknowledgement

                                Managers signified receipt of the forms, but did not acknowledge

    deficiencies        ODRS sent copies of inspection forms from the Department of the Army

prototype inspection form, Ft. Sam Houston, and Ft. Lee, which only require acknowledgement and

not an acknowledgement of a deficiency. 6 Ft. Sill had developed its own form.

          On March 19, 2018, ODRS received Observation Reports from the Army indicating evidence

of improper cooking habits (raw chicken observed being served), expired food, mislabeled food, time

and temperature control checks not being performed, and food packaging in storage areas without

integrity exposing raw food items, which occurred at the end of February to early March period. On

March 22, 2018, ODRS sent a letter to the Contracting Officer and Contract Specialist addressing all

of the issues raised, that it took full responsibility for the fulfillment of the contract and the associated

health and well-being of all diners, and presented a plan of action to ensure that the instances would

not reoccur.

          While these deficiencies were highlighted by the Army and Mitchco at the hearing,

evidence indicates that ODRS did not ever receive any deductions for these non-compliance

issues.

          In February 28, 2018, the Army notified ODRS that it was not going to exercise the remaining

option years on both the 2009 Contract and the 2016 Contract. Prior to the award of Contract

W9124L-16-D-0001 on 1 April 2016 as an ID/IQ contract, the Army elected to not exercise the third-


6
                                                          y Report, which was received in March of 2019.
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year option in Contract W9124L-16-D-0001. Contract W9124L-16-D-0001 authorized the provision

of FFS contract services for one twelve-month base year and four twelve-month option periods. The



authorized by this contract at Fort Sill with another contract being performed by ODRS rather than

exercise option two of the contract. As a result, none of the remaining options were exercised under

contract W9124L-16-D-0001.

       Army witness, Robert Tryan, who had worked with the Ft. Sill contract for 15 years, testified

that the new solicitation was issued because it was determined that it was in the best interest of the

Army to do so. Army Witness Stevens testified that the reason for re-procuring the Ft. Sill FFS

contract was ostensibly because the Army was implementing a new Army-wide program that

changed the way the Army purchased these services to try to standardize full food services across the

United States. He stated that the goal of the program was to standardize criteria, such as evaluation

criteria, contract clause, and solicitation provisions in all resulting contracts. He testified that the

Army decided to try to increase competition, stay within the realm of the Randolph-Sheppard Act,

and also realize some savings. The program had resulted in the millions of dollars per year savings

with a goal of about five percent savings. So far, the Army has realized about a 16 percent savings

over the life of a contract. He indicated that to his knowledge, the Ft. Sill FFS contract was the only

contract where additional option years were not exercised to start the new program and that the

termination was purely discretionary. He further indicated that as of the date of the hearing, all but

one full food services contract was awarded to an SLA and in that case, the SLA did not propose.

       The Army did not attempt to justify its determination to the Secretary of Education that it was




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       On March 9, 2018, ODRS formally

protest with Contracting Officer Abraham that the Army did not consult with the Secretary of the

DOE before making a determination not to exercise any remaining options under the contract.

                                                                                              overruled



       Consequently, on April 19, 2018, ODRS filed its complaint under 20 U.S.C. § 107d-1(b) with



       After informing ODRS that it was not exercising the options on its contracts, it issued a new

Solicitation which contemplated an award to the lowest priced, technically acceptable (LPTA) offeror

and it included three evaluation factors - technical capability (including two subfactors, key personnel

and qualifications, and staffing plan), past performance, and price. That is, the successful offeror

needed an acceptable technical proposal, an acceptable satisfactory past performance rating, and a

fair, reasonable and balanced proposed price. With respect to the past performance evaluation, the



Retrieval System (PPIRS), Federal Awardee Performance and Integrity Information System

(FAPIIS), Electronic Subcontractor Reporting System (eSRS) or other databases; and may be

obtained from other sources available to the Government, such as the Defense Contract Management




       ODRS prepared a proposal                           team member Altstatt/Cantu Services, Inc.,

which included past performance reports and pricing. The past performance reports documented

ratings of

                         m member, Cantu Services, Inc. at Ft. Dix and Ft. Sam Houston.



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be served each day in each dining facility. (The bidders were furnished information about how many

days of a given meal band each facility would have in a given year. As an example, if a building

serves three meals per day, it would have 3 meal bands that might be used on any given day ranging

from 1-2400, 2401-4800, or 4801-7200). In preparing a bid based upon meal bands, the bidder had

to determine which of the three bands would be applicable for each meal period (three meals per

day). The successful bidder would need to be prepared to staff and prepare meals for an entire band

per meal and the Army would pay based upon each band. As an example, if 2400 soldiers showed

up for a meal, the Army would pay a fixed fee under the first band (1-2400). If 2401 soldiers showed

up for a meal, the Army would pay a fixed fee under the second band (2401-4800).

         Even though the ODRS team had available information from historical head count

information from its past and current operations at Ft. Sill, it requested additional information to help

pinpoint the number of troops to be served each day. Cantu had provided services to the Army at Ft.

Lee in Virginia under a meal band and there were problems with knowing how many soldiers would

be at each meal. As a result, ODRS specifically asked if the Army were going to provide the number

of meals to be served. It did not provide a written

ODRS to historical data that did not give ODRS the answer to how many troops would show up at a

particular facility on a particular day. Army witness Tryan testified that a site visit was conducted

where all offerors were present, including ODRS, and Mr. Brian Buchanan indicated that meal counts

would be given three days in advance.                                                               he was at the site

visit and was not aware that such information was given. Further, he indicated that the question and

Army answer in regard to meal counts was after the site visit. 7


7
 While such information was not provided during the bid submission and question and answer period in writing. the
Army is currently furnishing the dining facilities contractor estimates of how many troops to expect at each meal, each
day for each facility. These are provided three days in advance
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       All offerors were provided the same information.

                    of $145.7 million based upon providing staff sufficient to feed troops at the top

of each anticipated meal range of each band.

Memorandum, the historical average price to serve the troops at Ft. Sill was $102.5 million. The

Government prepared its ow

somewhat lower than the historical average price,

was 54% higher than the ICGE.

percent higher than the historical average price.

       On February 25, 2019, and during the initial evaluation of proposals, the Army sent a

communication to ODRS under the authority of Federal Acquisition Regulation (FAR) 15.306(b)(i),

which covers communications with an offeror before establishment of the competitive range. The



adverse past performance information sent with the communication concerning the new Solicitation.

The adverse performance information included internal Army COR monthly reports, quality

assurance inspections reports, monthly meetings between the Army and ODRS, interactive customer

entry comments (ICE comments), and other information that the Army was seeking feedback from

ODRS to utilize in establishing the competitive range.

       The monthly COR Reports covered the period from January 2018 through January 2019.

These internal Reports contained internal findings of Marginal Performance for each of the 13

months. Since none of these Reports had been distributed to ODRS until February 2019, ODRS had

no contemporaneous opportunity to respond to the comments.

       On March 1,

adverse past performance, noting the delay, inconsistencies among the reports, ODRS plans of action

that were not recorded in the Reports, reported deficiencies labeled critical that were not under the

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contract, and findings of alleged long-term habits of not following terms of contract and regulatory

requirements that were communicated to ODRS for more than 13 months.

       On March 14, 2019, the Army informed ODRS that it was not being included in the

competitive range due to being found unacceptable for past performance and because its price was

unreasonably high and thus, not competitive.

                                                            r the gap from operations under existing

contracts and the issuance of a new contract, on March 22, 2019, Ms. Abraham, in her capacity as a

Contracting Officer for the

ODRS to the award of the full food service bridge contract at Ft. Sill beginning April 1, 2019, and

ending November 30, 2019. She certified that ODRS was a responsible contractor with a satisfactory

past performance record at Ft. Sill and a satisfactory record of integrity and business ethics.

       On 22 March 2019, the Army provided a written debriefing to ODRS under the authority of

FAR 15.505, pre-award debriefing, which provided the basis for ODRS exclusion from the

competitive range. ODRS was the only offeror (out of 7 offerors

performance rating from this evaluation team. There were four technically acceptable offers and two

of the four were put in the competitive range because their price was very similar.

       ODRS past performance evaluation was conducted by a two-person evaluation team which

included Mr. Brian Buchanan, who was

performance on the previous full food services contract at Ft. Sill. With the exception of the

inspection reports generated by Mr. Buchanan and his inspectors, all other past performance



ranged from satisfactory to exceptional.

       Testimony was given to describe the source selection process, which involves separate teams



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Performance,

compliance and conformance to the technical requirements of the solicitation. A different team

evaluated the past performance of offerors. Finally, a pricing team conducted a cost and price

analysis of proposals. Each team was sequestered from the other two teams, so the three teams did

not have access to proposal information that was evaluated by another team. The names of the

offerors were redacted so the members of these evaluation teams did not know the name of an offeror

who submitted a proposal.

        Mr. Colson and COR Buchanan, provided the past performance report to the contracting

officer, Mr. Stevens. The Report was added to the source selection file. Mr. Stevens accepted and

reviewed the report. Mr. Stevens testified that he found nothing in the report that suggested bias by

either Mr. Colson or Mr. Buchanan.

        Upon receipt of the Technical Report, Past Performance Report and Pricing Report, Mr.

Stevens initiated the competitive range determination.        The competitive range determination

summarized the evaluation results of the Technical Panel, the Past Performance Panel and the Pricing

Team.

        The Army Contracting Officer overseeing the last 17 months of the ODRS contract at Ft. Sill

testified that based on her personal experience, the Altstatt/Cantu team could provide the food service

at Ft. Sill for a reasonable price.

        The Solicitation and the follow-on contact have been the subject of various disputes including

procurement protests to the Government Accountability Office (GAO) and the Court of Federal

Claims (COFC), and requests for preliminary injunctive relief both in Western District of Oklahoma

Federal District Court or COFC to prevent either award or performance under the follow-on contract

to Mitchco, the successful bidder.



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       In November 2018, ODRS amended its first arbitration request. In March 2019, ODRS made



from its prior submissions and proffered a total of seven arbitration counts.

       In correspondence dated April 12, 2019, the




       On November 26, 2019, the Panel conducted a Preliminary Hearing at which time pre-

hearing matters were mutually determined a hearing date was set. Subsequent to the issuance of the

Scheduling Order, Mitchco International, Inc., David Altstatt, Sr., and Cantu Services, Inc, filed

motions requesting that they be permitted to intervene in the proceeding as Interested Persons,

which was granted on a limited basis.

       A hearing was conducted at JBSA-Fort Sam Houston. At the hearing were representatives

from Department of the Army, ODRS, Mitchco, Altstatt and Cantu.


                                        Position of the Parties

Position of ODRS

       ODRS argues that the RSA places an affirmative

blind vendor, David Altstatt, obtain and retain his priority right to the economic opportunity of the

Ft. Sill dining facilities contract. The Army is not a disinterested party. It is an active participant in

assuring the blind vendor s priority right to the economic opportunity at Ft. Sill, whenever feasible.

However, the Army violated the Act in the following manner: (1) the Army terminated the five-year

contract of ODRS for its own convenience (by failing to exercise the renewal option) without

securing the approval of the Secretary of Education; (2) in the subsequent solicitation, the Army

evaluated the past performance of the ODRS team unfairly to improperly eliminate ODRS from the

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                                                                         and (3) the Army improperly

chose not to conduct meaningful discussions with ODRS to clarify any confusion as to how many

meals would actually be served, for if the Army had clearly stated that it would timely provide the

amount of meals to be served, as it had in past solicitations, ODRS would have submitted a price

proposal acceptable to the Army just as it had done for decades.

       The Army did not have the discretion to terminate ODRS s contract and Altstatt s RSA



to the Secretary of Education.                                                            ot exercising

the succeeding option periods was a severe limitation on the economic opportunity for the blind

vendor, and it was improper because approval by the Secretary of Education was not secured. U.S.C.

                                                mitation on the placement or operation of a vending

facility based on a finding that such placement or operation would adversely affect the interests of

the United States shall be fully justified in writing to the Secretary, who shall determine whether such

                        Id

had not done all they could to insure the establishment and the maintenance of blind vendors on

                               SourceAmerica v. United States Dep't of Educ., 368 F. Supp. 3d 974,

995-996 (E.D. Va., March 15, 2019).



                                                                                             Randolph-



                                                                             - In essence, the
       final paragraph of Section 1 is clearly intended to preclude an arbitrary or unjustified
       decision on the part of a FPMA to not allow or unduly curtail the operation of a
       vending facility on Federal property. Any supportable position to do so specifically
       must be justified in writing to the Secretary, ED. The Secretarial Determination on
       the issue is binding upon the FPMA and requires publication in the Federal Register.


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       Substantiation would be required to support such a written justification for a



       The Army has been seeking to limit the RSA opportunity at Ft. Sill since 2015 when it split

the dining facilities contract into two contracts and refused to apply the RSA to the larger of the two

contracts. After an arbitration panel found that the Army violated the RSA, the Army awarded ODRS



the 2016 Contract with options remaining so that it could issue the 2018 Solicitation.

       Rather than undertaking its affirmative obligation to protect the priority for blind licensees



prematurely by not exercising the remaining options resulted in eliminating a longstanding RSA

opportunity in the cafeterias on Fort Sill.

       While ODRS had the opportunity to bid on the 2018 Solicitation, even a fair opportunity to

bid on a new contract would not change

opportunity by not exercising the remaining options. Any lottery winner would prefer to have their

million-dollar payment rather than a chance to win the money again.

       The Army argues that the Se

holds an option, it may employ whatever lawful criteria it chooses when deciding to exercise it or

not. See, Mktg. & Mgmt. Info, Inc. v. United States, 62 Fed. Cl. 126, 130 (2004). But the United



                                                                                                Magic

Brite Janitorial v. United States, 72 Fed. Cl. 719, 722 (2006). This is exactly what Congress did in



to ensure that blind vendors continue to operate dining facilities. See S. REP. NO. 93-937, at 16. The

Army had the right (or not) to exercise the options, but only in accordance with the law. The issue is

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reviewed in accordance with the RSA, which required that the decision be approved by the Secretary

of Education because it was a limitation on the placement or operation of a vending facility. See 20

U.S.C § 107(a)(b). Accordingly, the Army violated the RSA by failing to secure the appropriate

approval from the Secretary of Education.

       The Army evaluated the past performance of the ODRS team unfairly to improperly eliminate

                                                                                           . Under the

RSA, ODRS should have been awarded the contract if it could provide satisfactory service at a fair

price. 20 U.S.C. § 107d- 3(e). Past performance can be used as an indicator of ability to satisfactorily

perform the contract. The past performance evaluation was flawed because: (1) it excluded relevant

information of past, satisfactory performance by the Altstatt/Cantu team and included irrelevant past

performance data from the Brown/Blackstone team; (2) it relied almost exclusively on the biased and

flawed evaluations of Brian Buchanan; and, (3) one of the two members of the past evaluation team,

Brian Buchanan, had a conflict of interest. The evidence produced at the hearing was that ODRS

could satisfactorily perform the contract.

       Here, ODRS was not placed in the competitive range, in part, because o



mandates that this past performance evaluation be performed consistent with the neutral, pre-

published solicitation criteria and applicab

decision to re-procure the FFS at Ft. Sill was a continuation of its plan to limit or remove ODRS as

the dining facilities contractor and deny ODRS the contract priority it is entitled to under the RSA.

The evidence at the arbitration hearing confirms this point.

       In 2015, the Army concluded that it had to split the current Ft. Sill dining facilities contract

into two separate contracts. Most of the dining facilities would be under a Dining Facility Services

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(DFA) contract. The remaining dining facilities would be under a Full Food Services (FFS) contract.

Two solicitations were issued, but ODRS was only allowed to bid on the FFS contract. ODRS



among separate contracts. Ultimately, a three-member arbitration panel appointed by DOE found the

Army had violated the RSA by removing the DFA dining facilities from ODRS. The Army was then

forced to issue contracts to ODRS to operate all of the dining facilities. Soon thereafter, the Army



(now in one contract again) prematurely and developing information to indicate a poor past

performance that would exclude ODRS from the new Solicitation.

       The Solicitation at issue here required offerors to submit past performance information to the

Army which included the past performance information associated with any major subcontractor.

Here, ODRS used the team of Mr. David Altstatt (the licensed blind vendor) and Cantu Services, Inc.

to perform the FFS contract. The Solicitation promised the following with respect to how this past

performance information would be presented and used in the evaluation:

       c. Volume III    Past Performance. The Past Performance evaluation will be accomplished

       performance which is relevant to the effort. Past performance information described herein
       is required on the offeror and all subcontractors, teaming partners, and/or joint venture
       partners proposed to perform 25% of the proposed effort based on the total proposed price.
       ....

       All past performance comments received will be taken into consideration and could affect
       the overall rating.
       ....

       Past Performance Questionnaire See Attachment 3 Past Performance Questionnaire.
       The offeror shall forward a copy of the Past Performance Questionnaire for each of the
       contracts identified on the specific relevant contract reference to the points of contact
       responsible for monitoring performance. The points of contact shall return the
       questionnaires directly via email to the Contracting Officer and Contract Specialist at the
       following email addresses:



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       Gary.l.stevens.civ@mail.mil and Karina.s.haddix.civ@mail.mil no later than the proposal
       due date. Questionnaires not submitted directly to the Contracting Officer or Contract
       Specialist will not be reviewed and evaluated. The information contained in the properly

       performance.

       The Army never considered any of the other past performance information provided with




Cantu Services, Inc., specifically at Ft. Dix and Ft. Sam Houston. It is clear that the Army

performance team did not meaningfully

evaluation                                                  more

regular inspections. In fact, all other inspection reports conducted by inspection teams other than the

team of inspectors at Ft. Sill supervised by Mr. Buchannan, scored ODRS and its team members as

                  better.

       At Ft. Sill, the                                                                         eduled

inspections at the dining facilities operated by ODRS and its team members. The IMA is a different



such, Mr. Buchanan did not attend the IMA inspections. The IMA inspection also focused upon

sanitation and other similar areas regarding food preparation and storage. Each of these IMA




performance team for confirmation that ODRS is capable of performing the work required by this

Solicitation. Yet, the past performance team (to include Mr. Buchanan) rejected these IMA




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         Not only was it a conflict of interest for Mr. Buchanan, as one of only two evaluators, to

prepare the Past Performance Evaluation of ODRS. He relied upon his own reports based upon

inspections that were flawed, unfair, improper, and biased due to                                 failure to follow the



defects. The Reports                                                               , but the observed events did not
                                                                         8
                                                                             . In objecting to the inspections, ODRS

pointed out that:

         1. ODRS received a defect from Mr. Buchanan and his inspection team for failing to
         enter certain information into the computer system even though the 72-hour window
         to enter this information had not expired. In this case, ODRS was not given the time
         allocated under the contract to perform this
         inspection team. Additionally, failing to enter this information into the computer



         2. ODRS received a defect from Mr. Buchanan and his inspection team when a shift
         leader did not sign a production form. As Mr. Handy testified such a deficiency did

         the meal was serv                                                                     -being was
         impacted.

         3. ODRS received a defect when a correction was made on a production form and
         there was not a corresponding set of initials marking the correction This also does
         not meet the defin
                                                                       -being.

         4. ODRS received a defect for accumulation of grease and dirt in the dish room even
         though the inspectors did not give ODRS the 90 minutes after a meal period allotted
         by the contract to clean this area. The inspector left 60 minutes after the end of the
         meal period.




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at the time or in the manner described, would be detrimental to the health or well-being or would delay or interrupt the
scheduled activities of the person or organization receiving or using the finished product or service, thereby causing the
value of the products or service to be partially reduced or val                                                          -

performance. However, when performed unsatisfactory and corrected, would not be detrimental to the health or well-
being; or would not delay or interrupt the scheduled activities of the person or organization receiving or using the

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       5. ODRS received a defect for pest infestation even though the pest control was
       managed as an integrated program which included work performed by another
       contractor and the government.

       6. Mr. Buchanan and his inspectors would routinely conduct 7+ hour inspections in
       an effort to find a minor deficiency. In decades of services with the Army, ODRS
       did not see an inspection go for this long of time.

       Even though ODRS sent detailed written responses to the Army to address all of the alleged

defects and why the issues were not defects under the term of the contract, these responses were not

considered by the Past Performance Evaluation team. ODRS complained to the Contracting Officer,



and inconsistent with the contract, yet she testified that she conducted a cursory and informal review



what constituted a proper inspection under the contract.

       Significant emphasis was placed on complaints of undercooked food, yet the plan of action

put in place immediately upon being informed of a complaint to prevent future incidents was

unreported in the COR Reports. Complaints of not responding to proper pest control were inaccurate.

ODRS complied with contract requirements, but the pest situation could only be controlled by an

integrated program which included work performed by another contractor and the government, over

which ODRS had no control. Further, ODRS could only use products that the government authorized

them to us. While undercooked food is unacceptable under any circumstances, the COR Reports,

upon which the evaluation team relied, only identified 24 customer comments or complaints during

the 13-month period of reporting, while at the same time 4,556,117 meals were prepared and served.

This was not taken in perspective.

       The only other evidence not mentioned above that used by the two-member past performance

evaluation team was the past performance of a previous licensed blind manager (Robert Brown) and


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his different teaming partner (Blackstone). The past performance of the Brown/Blackstone team was

irrelevant as to whether the proposed Altstatt/Cantu team could provide good service at a fair price.

                                                                                             ance is




Army did not fairly and properly apply the neutral, pre-

performance.

                                     COR i

performance and ODRS had, on numerous occasions, complained about these inspections, Mr.

Buchanan should not have been a member of the two-member past performance evaluation team.

Based upon his clear bias, he was unable to render impartial assistance or advice to the Government

                                                   DZS/Baker LLC, B-281224 et al., Jan. 12, 1999, CPD

¶19 at 4, confirms that evaluations from government evaluators who possess an impaired objectivity,

a conflict of interest, are invalid and cannot be used in making an award decision, let alone a

competitive range determination.

       The Army violated the RSA

written to obligate the contractor to staff the contract to provide more food service than the Army

would pay for. Historically, the Army would procure food services at Ft. Sill in a manner which

allowed the contractor to accurately determine the amount of meals it would be required to serve and

calculate the cost for providing the food services. All witnesses agreed the contractor must be

informed in advance of how many troops are going to be fed in each facility on each day to accurately

calculate the staffing and cost of the contract.




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       In the new Solicitation, the contractor was obligated to feed every soldier who was sent by

the Army to each dining facility, but the Solicitation did not require the Army to give accurate and

timely head count information to the contractor before the scheduled meal period.

       ODRS informed the Army of the head count issue and requested clarification of how the

contractor would be informed of the number of meals served, but the Army simply referred ODRS

to the historical meal counts. It was unrefuted at the hearing that the historical meal counts were of

little use because the Army now had an economic incentive to send just enough troops to a dining

facility to meet the high end of a meal range. By way of example, building 2755 provided for 3

possible meal bands:

       Three meals a day, 1-2400.
       Three meals per day, 2401-4800.
       Three meals per day, 4801-7200.

       Because a flat fee is charged for each meal band, the contractor receives the same

compensation to prepare and serve 2401 meals as it does to prepare and serve 4,800 meals. The

evidence at the hearing was that the price savings to the Army to send troops to building 2755 at the

top of the first meal band rather than the bottom of the second meal band would be $2,500,000 over

a 5-year period. Contract wide, the economic incentive of the Army to send troops to a facility toward



       As ODRS would still be required to perform in the highest portion of the meal band ordered

should those troops present themselves for meals at the dining facility, ODRS prepared a price

proposal that addressed (1) the Army s likelihood it would seek performance in the highest portion

of each meal band, and (2) the contractual obligation to be prepared to perform in the highest portion

of each meal band at every facility. In so doing, ODRS submitted a price proposal that addressed the

reasonable costs associated with                                         s refusal to provide accurate

meal count information. Since the requirements of the Act are to provide remunerative employment

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for a blind vendor, the dining facilities contract must be operated at a fair profit by the blind vendor.

Given the contractual requirement to be prepared to serve at the top end of a meal band for each

facility and the requirement to provide remunerative employment for a blind vendor, the bid of ODRS

was reasonable.

        The Army admitted it was giving the current contractor estimates of how many troops to

expect at each meal, each day, for each facility. The estimates are being provided three days in

advance, and give the same type of information requested by ODRS in its questions to the Army. If

the Army had placed ODRS in a competitive range where it could have conducted meaningful

discussions with ODRS to state that information on head counts would be given, ODRS could have

reduced its price to more accurately reflect the amount of meals served.

        The RSA requires the Army to assure that ODRS is afforded a meaningful opportunity to bid

for the operation of the dining facilities. The [RSA] regulations place a high degree of trust in

contracting officers to assure that they negotiate and award contracts consistent with the intent of the

Act    Considering the clear intent of the Act, the determining factor for judging whether a proposal

[of the SLA] should be within the competitive range is if the offer can be made acceptable by

conducting meaningful                                                ered within the competitive range

unless it is

acceptable through meaningful negotiations is precluded

        If the Army had placed ODRS in a competitive range where it could have conducted

meaningful discussions with ODRS to state that information on head counts would be given, ODRS

could have reduced its price to more accurately reflect the amount of meals served.

        The primary cost of this contract is labor. The process for developing a reasonable price for

labor is to determine the number of meals to be served, determine the staffing to accomplish that, and

apply the union wage rates to the staffing. The Army should have informed ODRS that it would not

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have to always prepare to staff at the high end of the meal rage at every facility because it would

receive accurate estimates of head counts three days in advance. The Army violated the Act by not

conducting meaningful discussions with ODRS to determine if it were possible for ODRS to provide

a fair price.

        The Army that must convince this Panel that its application of the RSA was both permissible

and correct. See, Nish v. Cohen, 247 F.3d. 197, 206 (4th Cir. 2001). This is the opposite of presuming

the agency has taken the proper action when limiting an RSA opportunity. As recognized in a

previous RSA panel decision:

        In order to make certain that the RSA achieves its central purpose of increasing
        employment opportunities for blind people, a federal agency's decision to exclude
        the bid of an SLA from the competitive range is reviewable under a more rigorous
        standard because excluding a blind vendor from the competitive range undermines
        the remedial purposes of the RSA, and subjecting such exclusion decisions to a
        deferential standard of review such as abuse of discretion would make it far too easy
        for federal agencies to evade the RSA's requirements. Missouri Dep't of Social
        Services, Case No. R-S/16-13 (May 1, 2019), available at:
        https://www2.ed.gov/programs/rsarsp/arbitration-decisions/r-s-16-13.pdf

Position of the Army
        ODRS has the burden of proof to establish whether the Army violated the RSA. Title 5,



                                                       -2(a). That subchapter also provides that the




and/or quality of evidence that leads the trier of fact to conclude that the evidence presented is more

                    Sheets v State of California, Department of Rehabilitation R-S/13-08. Therefore,

the ODRS has the burden to establish that the Army violated the RSA, in other words the Army acted

irrational, unreasonably, contrary to law, or abused its discretion by (1) not exercising the options



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under contract W9124L-16-D-0001 and (2) failing to judge ODRS proposal to be within the

competitive range under solicitation W9124J-18-R-0024.

       The Army argues that the Arbitration Panel should dismiss the issues before it under the

theories of Res Judicata, Collateral Estoppel, and/or Law of the Case through the adoption of

                             , Motion to Dismiss (Mitchco Motions). Should these issues not be

dismissed based on Res Judicata, Collateral Estoppel, and/or Law of the Case, the Army argues that

(1) it did not violate the RSA by failing to exercise the Second Option Year of Contract W9124L-

16-D-001 because the RSA does not apply to contracting administration matters for awarded

                                                                           id not prevent ODRS from

bidding on the new solicitation; (2)

the Army judged the proposal received from ODRS to be not within the competitive range based on

unacceptable past performance and unreasonable high price, which was consistent with the

Solicitation; and (3) once the proposal was determined to be outside the competitive range, it had no

obligation to enter into further discussions with it.

       The Army, through the adoption of Mitchco Motions, argues that the case should be dismissed

as Res Judicata, Collateral Estoppel, and/or Law of the Case. The Army and Mitchco argue that the

same issues before this Panel were raised at the Court of Federal Claims, the General Accounting

Office, and the District Court for the Western District of Oklahoma, and this arbitration is nothing

more than a different forum in which it seeks a ruling on these same issues.

       It maintains that the issues before the Panel as Res Judicata based upon the general rule that

bars repetitious suits involving the same cause of action. ODRS filed bid protests before the CFC and

GAO, as well as sought a temporary injunction, to challenge the awarding of the contract under

provisions of the Federal Acquisition Regulations. It argues that Collateral Estoppel applies, because

the concept is applicable to relieve the government and the taxpayer of redundant litigation of the

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identical question of the statute's application. Under these principles, it argues that, before the

Arbitration Panel can weigh any evidence, it must first determine to what extent these ODRS



which was offered and received to sustain or defeat the claim or demand, but as to any other

admissible matter which might have been offered for that purpose. Citing Commissioner v. Sunnen,

333 U.S. 591 (1948). While not specifically stated, it appears from the arguments made supporting

the Motion to Dismiss that the                                Law of the Case

bound by the GAO, CFC, and District Court decisions on the issues before the Panel.

       The Army did not violate the RSA by failing to exercise the Second Option Year of Contract

W9124L-16-D-001, because the RSA does not apply to contracting administration matters for



ODRS from bidding on the new solicitation. A decision from the Arbitration Panel finding the Army

violated the RSA in deciding not to exercise an option under a contract would be an expansion of the



The Arbitration Panel in finding a violation would necessarily have to disregard and then suspend

the rules in the FAR and the Contract Disputes Act statute (CDA) and substitute them with heretofore

unidentified standards for contracts awarded to an SLA under the RSA and Army Regulation (AR)

210-25. The Arbitration Panel finding would result in creating super-contracts for blind vendors

which federal agencies must form and administer with continuous permission and oversight by the

Department of Education. A clear and far reaching expansion of the RSA and disregard of the FAR

and CDA.

       The RSA arbitration process as set forth in 20 U.S.C. §107d-1(b) does not create an alternative

dispute resolution process parallel to what Congress already has provided in the Contract Disputes

Act (CDA), 41 U.S.C. §7101 et seq. The CDA affords contractors ample appeal either to COFC or,

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for contracts awarded by the Department of Defense (DOD) to the Armed Services Board of Contract

Appeals. This is the sole avenue of relief for disputes under all DOD contracts. See Id., at §7103(g).

Moreover, the Army Regulation governing awards to SLAs (AR 210-25), specifically in paragraph

2-5b(3), states that normal contract administration procedures, including the application of the CDA,

apply to contracts for operation of the DFAC by the SLA and its blind vendor. Finally, ODRS

contract contained Clause 52.212-4(d) and through it, Clause 52.233-1, which together require all

disputes under the contract to be subject to the CDA. ODRS accepted those terms and conditions

upon award of the contract. ODRS cannot now complain that it should not be bound by them and

then ask this Arbitration Panel hear its dispute over the Options when these disputes are under the

CDA exclusive to other forums than this Panel.

       Further, the RSA does not expressly address the opportunity to challenge contract

administration actions, including filing a contract dispute. The RSA does not expressly address

options in its language. Nor does the implementing regulations address Options. It does address,

contrary to ODRS s position in its complaint, in 34 CFR §395.35(f) that     he operation of a cafeteria

by a blind vendor shall be covered by a contractual agreement and not by a permit. AR 210-

25(6)(c)(3) likewise provides,    he operation of a cafeteria by a blind vendor will be governed by

contractual agreement, not by a permit. Normal contract administration procedures will apply, except

                                                                           As such, the RSA is clear

that operation of the cafeteria is governed by the terms of the contract. The contract provides the

disputes concerning it are handled under the CDA.

       The Options within ODRS federal contract at issue here do not create a contractual right until

the Government exercises that right. ODRS complaint mischaracterizes the Army s decision not to

exercise the contract Option as                                                     The Army cannot

terminate a contract/option that has not been executed. As GAO has acknowledged, an option is

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merely an unaccepted offer which becomes a binding contract once the option is accepted.

International Business Invest. Inc. v. The United States, 19 Cl. Ct. 715, 720 (1990). The GAO has

previously decided:

                                                                  contracting officer must
       unequivocally express an intent to accept an offer. Also, the acceptance of a
       contractor's offer by the Government must be clear and unconditional; it must appear
       that both parties intended to make a binding agreement at the time of the acceptance
                                                    -200815

       Contract terminations are governed by FAR Part 49. No termination can occur without the

existence of a contract. The exercise of contract options, however, are governed by FAR 17.2.

Options are a contracting tool allowing the government the convenience of entering into contracts

with additional years of performance if the needs of the government are best served. The option is

exercised by the Government, not the Contractor. The decision to exercise an option is at the sole

discretion of the Government exercised by a lawfully warranted contracting officer. FAR 17.207(c).



                               to renewal, or regulate the conditions under which it could decide to



                                          , 847 F.2d 811, 813 (Fed. Cir. 1988). T

not to execute the option year does not implicate nor violate the RSA, the reported cases related to

RSA arbitration deal exclusively with questions of federal cafeteria contract formation and award to

blind vendors. No reported RSA arbitration case, to our knowledge, deals with contract

administration or disputes.

       The only authority cited by ODRS, 20 U.S.C. § 107(b)(2), is completely irrelevant and

                                                                                           f a vending

facility based on a finding that such placement or operation would adversely affect the interest of the



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Indeed, as the subject solicitation W9124J- 18-R-0024 makes clear, the placement and operation of

the vending facility will continue. In fact, ODRS was invited and submitted a proposal to the

solicitation is proof that ODRS was not being limited and was allowed to bid on the requirement.



the proposal received from ODRS to be not within the competitive range based on unacceptable past

performance and unreasonably high price, which was consistent with the Solicitation. The Army

issued solicitation number W9124J-18-R-0024 to acquire Full Food Services and Dining Facility

Attendants support at Fort Sill, Oklahom

The solicitation resulted in contract number W9124J-19-D- 0012. Aspects of the solicitation pertinent



performance evaluation factor and (2) price factor analysis, and (3) and the competitive range

determination. The solicitation was subject to both the RSA and the FAR.

       In the solicitation, past performance evaluation was factor 2 was defined as:
                          Past Performance. The past performance evaluation will assess the


       after evaluating as
       performance that is relevant to the services being procured under this solicitation.
       Offerors are cautioned that in conducting the performance risk assessment, the
       Government may use data provi
       other sources available to the Government to include, but not limited to the Past
       Performance Information Retrieval System (PPIRS), Federal Awardee Performance
       and Integrity Information System (FAPIIS), Electronic Subcontract Reporting System
       (eSRS), or other databases, and may be obtained from other sources available to the
       Government, such as Defense Contract Management Agency, and interviews with
       program managers, contractors, or fee determining offici

       The past performance areas of evaluation include: business relations, quality of service,

schedule, customer satisfaction, and compliance with social-economic goals. The factor was rated on

an acceptable or unacceptable basis. An acceptable rating w

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performance record, the Government has a reasonable expectation that the offeror will successfully



performance record, the Government does not have a reasonable expectation that the offeror will be



       The Solicitation provided that price was not scored or rated. Instead, price was evaluated

using one or more of the proposal analysis techniques in FAR 15.404-1(b) to determine if a price was

reasonable, complete, and balanced. The total evaluated price for award purposes was calculated as

follows from the schedule of supplies/services of the solicitation: total price of phase-in CLIN, total

price of project management for all years; total price of each dining facility CLIN for all years that

contained estimated days; total price of the option to extend services, and total price for contract

management report.

       The Solicitation provided that the Army would be establishing a competitive range. The

competitive range would be comprised of all of the most highly rated proposals. While the RSA and

its implementing regulations provide no definition for competitive range, the Federal Acquisition

Regulation (FAR) does provide a definition and per the terms of the solicitation was applicable to

this procurement. FAR 15.306(c)(1) governs the establishment of the competitive range. FAR

                                                                      against all evaluation criteria, the

contracting officer shall establish a competitive range comprised of all of the most highly rated



       In the absence of clear language under the RSA and the clear applicability of the FAR per the

terms of the solicitation, the arbitration panel should apply, as noted in the relevant law section above,



reasonable in establishing the evaluating ODRS under past performance factor 2, determining ODRS

price as unreasonably high, and establishing the competitive range that excluded ODRS based on the

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unreasonably high price and unacceptable past performance. In doing so, the arbitration panel will

                              are reasonable, consistent with the solicitation, and not an abuse of

discretion, Thus, not a violation of the RSA.

       The Army documented its decision that ODRS was unacceptable for past performance under

factor 2 in the source selection evaluation board report and is consistent with the terms of the

solicitation. The Army did not utilize or rely on information that per the solicitation terms ODRS

was not put on notice that it might use for evaluation under the past performance factor 2. As noted

above, the solicitation provided for past performance factor 2 the Army could utilize information in

its own systems, interviews, and other sources in determining whether ODRS was acceptable or

unacceptable under past performance factor 2.

       In accordance with the S

performance data for four contracts submitted by ODRS which included the recent and relevant

                                                                                considered for those

                                                                        customer satisfaction as part

of the evaluation. The issuance of the Contract was conducted in accordance with the FAR and at no

time violated the RSA.

       In reviewing these prior contracts and as allowed under the solicitation, the Army interviewed

the prior Contracting Officer Representative (COR) and the prior Contracting Officer. The Army

                                                                                            (PPIRS)

fo                                                                          reports, adverse contract

performance information found in contractor performance reports, customer interactive comment

cards (ICE), and other relevant information. The Army even provided ODRS a chance to respond

adverse performance information during the evaluation process for determining whether they were

unacceptable for past performance to assist in establishing the competitive range.

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       T                                                          past performance under factor 2 was

reasonable. As documented in the source selection evaluation report, the Army determined that

                                                                          Government does not have a

reasonable expectation that the offeror will be able to successfully perform the required effort as

specified within the solicitation without high risks associated with poor performance, cleanliness,



       The Army based these determinations, as documented in the report and noted in the paragraph

above, on information it was allowed to consider under the terms of the Solicitation. In addition, the

Army even took the step to provide ODRS a chance to respond to adverse past performance

information and considered their response in making the evaluation.

                                                                                       that ODRS was

unacceptable was not made in a vacuum or without any basis which would render the decision

arbitrary or irrational. Instead, it is clearly documented in the record and explained during the hearing

that the decision was consistent with the solicitation, based on relevant and recent past performance

information.

       Further, to elaborate on the above, the Army thoroughly rational and documented decision

was based on:

                                                                                            documented
                                                                                    report for ODRS.

        (b) Reviewing information from PPIRS (past performance information record system), which
found ODRS received unsatisfactory in management, and unsatisfactory in regulatory compliance
for performance period between 1 April 2016 to 31 March 2017. The PPIRS information also showed
ODRS received marginal in management and marginal in regulatory compliance for performance
period between 1 April 2017 to 31 March 2018. Of significant note, the contracting officer noted she
would not recommend contracting with ODRS again for this requirement. Id.

        (c) Reviewing the COR monthly reports for ODRS Fort Sill contracts for the performance
period from January 2018 to January 2019. Also, included in this review was the associated quality
assurance inspection reports. The monthly reports showed a continued and trending unsatisfactory to

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marginal performance concerning sanitation issues, cooking issues, deliverables, and customer
satisfaction, staffing.

                                                                                included the above
COR monthly reports, quality assurance inspections, monthly meeting notes that were communicated
to ODRS on 25 February 2019.

                                                                                 response to ODRS
comments under the FAR to the provided adverse past performance information. The contracting
officer noted and disagreed with ODRS response. The contracting officer stated she did not agree
with ODRS statements or position regarding these deficiencies raised in their response.

       As such, the Army decision was not fanciful. It was not based on nothing. Instead, it was

based on allowable and relevant information that ODRS was on fair notice would be reviewed to

determine whether ODRS was acceptable and unacceptable for past performance. The Army acted

reasonable concluding, based on the above, that ODRS was unacceptable for past performance.

       Finally, the Army was not biased in its evaluation of ODRS performance under the prior

                                                               unacceptable for past performance

under the solicitation. This claim rests solely on a claim of bias related to a single government

employee. The Arbitrating panel should not give any weight to this claim because the dispute over

prior performance must be brought before Armed Services Board of Contract Appeals or COFC

under the CDA. As noted by COFC and cited above, the disagreement with the underlying facts

regarding performance does not

perception of the past performance is reasonable as shown above. Moreover, during the arbitration

hearing, the Army clearly established that other Army employees, not challenged by ODRS as being

allegedly bias, had reached independent conclusion that ODRS performance was poor which support

finding the Army acted reasonable in determining ODRS was unacceptable for past performance

under the solicitation as shown above.




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       It is also important to note that the past performance evaluation decision was reviewed and

approved by Army employees that ODRS has not challenged as being biased, which removes any

risk of bias from a single employee affecting the source selection process.

       The record demonstrates that ODRS had a continuing trend of marginal to unsatisfactory

performance for quality of services, schedule, business relationship, and customer satisfaction over

the years concerning performance on contracts at Fort Sill that would reasonably support a finding

of unacceptable under past performance factor 2.

       The solicitation stated that price would be analyzed for reasonableness, balance, and

                                                                                          -1(b) price

analysis techniques. The Army recorded its analysis and findings in the price report, source selection

evaluation report, and in the competitive range determination. In accordance with the solicitation and

record, the Army reviewed the pricing information for ODRS contained in its proposal which showed

a total evaluated price for award purpose of $145,697,796.00 or approximately $145M. In accordance

with FAR 15.404-1(b) and allowed under the Solicitation, the Army used price analysis techniques



       The Army used the comparison with the independent government estimate (IGE), the average

price amongst the technically acceptable offers, and the historical pricing at Fort Sill for dinning

facility services. With the methods above, the Army found ODRS pricing was 54% / $51,270,224.87

(approximately $51 million) over the IGE; 21% /$24,828,054.87 (approximately $24 million) over

the average price of the offers; and 42% / $43,158,128,30 (approximately $43 million) over the

historical average pricing based on contracts W9124L-16-D-0001 and W9124J-09-D-0003 which

were both with ODRS.

       It was shown that ODRS pricing was $42,535,477.50 (approximately $42 million) more than

Mitchco, the awardee. Moreover, ODRS pricing was $36,786,968.78 (approximately $36 million)

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more than one of the other offers included within the competitive range. It was, in fact, the highest

price offered amongst the technically acceptable offers. Based on this information, the Army

determined ODRS pricing was unreasonably high which is reasonable given the above analysis.



above analysis, the record, and the hearing testimony. The Army applied allowable techniques that

objectively showed the difference in money between ODRS offer and the other technically acceptable

offers in the competition. The difference                                          was not trivial nor

insignificant. The difference clearly represented a sum of money that a reasonably prudent person

would not pay given the alternative for an equally technically acceptable performance from a

significantly (approximately $42 million for Mitchco and approximately $36 million for the other

offer in the competitive range) cheaper comparable commercial offers in the market place. The price

was not a competitive price when compared to the competitively submitted offers to the same

solicitation.



unequal competition is unfounded and speculative. It is unfounded and speculative because ODRS

claims lacks any logical connection to unfairness and unequal competition to them from the banding.

ODRS was in possession of the same information provided to all of other offerors through the

solicitation and was even, in fact, in possession of non-public information as the incumbent to help

inform its bid price for a band. ODRS made the business decision to bid at the price it did based on

this information. Not the Army. Other offerors made similar decision to bid at the price they did

based on the same pricing matrix and had to bid to the same banding. As such, ODRS operated under

the same information as all other offerors and bid against the same banding as all other offerors. That

despite having headcount data for the previous years as the incumbent and no other Offeror



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submitting prices anywhere near that contained in ODRS proposal, ODRS argument here is

disingenuous.

       Once the proposal was determined to be outside the competitive range, the Army had no

obligation to enter into further discussions with ODRS. The Army is obligated to enter into

meaningful discussions with a SLA, in this case ODRS, after it is determined they are in the

competitive range, and priority to blind vendors to operate its food facilities, but the RSA establishes

a precondition which requires the SLA to be judged to be within the competitive range established

by the contracting officer before the priority is applied. Without such a finding by the Army, the

regulations authorize the Army to eliminate the SLA from further consideration. Section (b) states

   he priority is mandated in those cases where the proposal received from the State licensing

agency... is judged to be within the competitive range and has been ranked among those proposals

which have a reasonable chance of being selected for final award, the ... agency ... shall consult with

the Secretary as required under paragraph (a). 34 C.F.R. § 395.33(b)

       The RSA does not define the term competitive range. The priority is only applied once the

contracting officer determines that the SLA is within the competitive range. Since the DOE

Arbitration Panel is not a court of law, the panel should be guided by applicable federal law and

decisions of federal courts. Richmond, Fredericksburg & Potomac R.R. v. Transportation

Communications Int' I Union, 973 F.2d 276, 279 (4th Cir. 1992). While the RSA does not define

competitive range, Courts have established the standard of review for an agency decision under the

RSA in establishing the competitive range                                Southfork Systems v. United

States, 141 F.3d 1124 (Fed. Cir, 1998). The Court in Southfork held that the contracting officer had

broad discretion to consider the evaluation of each factor as part of a totality of the circumstances in

order to determine whether a proposal belonged in the competitive range when making a competitive

range determination. Id. In Southfork, Southfork Systems (Southfork) lost its contract with the Air

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Force when the contracting officer included a proposal from the Texas Commission for the Blind, an

SLA, was within the competitive range. Southfork challenged the KO's decision to include the

proposal, but the Court rejected that challenge based on the KO's broad discretion in determining the

competitive range. As such, Southfork provides guidance that under a solicitation subject to the RSA,

the agency procurement decision for competitive range will be judged by a federal court utilizing the

                                                           ld be guided by this well establish standard

for agency procurement decision under a solicitation subject to the RSA, as we have here.

Mitchco Arguments

       In addition the underlying arguments in                                                   Stari

decisis, Res judicata, Collateral Estoppel, Law of the Case and Comity principles, as discussed and

adopted by the Army and discussed above, Mitchco further argues that ODRS failed to state any

claim supporting an RSA violation; the complaint of ODRS is defective for failure to comply with

Rule 3(b) of the Arbitration Rules because the Complaint was not filed by the State Attorney General

on behalf of the State licensing agency, or by the State licensing agency with the written concurrence

of the State governor; the Panel members should recuse themselves because the Panel is not

comprised of impartial arbiters and violates the Due Process Clause of the Fifth Amendment and the

U. S. Constitution; the RSA complaint is untimely, ODRS has waived its right to file a complaint,

and the complaint is barred by laches; ODRS is not an interested party as defined by the Statute; and

the ODRS contract is a sham contract, because the work at the cafeteria is not performed by blind

individuals.

       Mitchco argues, on the merits, that the Army did not violate the RSA on the basis of the same

or similar arguments made by the Army.




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                                         Opinion and Analysis

         The issues presented are whether (1) w

option year on its contract for dining facility services with the Oklahoma SLA is a limitation on the

placement or operation of a vending facility that must be justified to the Secretary of Education under

20 U.S.C. § 395.30(b), and then, whether the Army violated the Randolph Sheppard Act (RSA)(Act)

at 20 U.S.C. §107(b) and implementing regulations 34 C.F.R. §§395.30(b) and 395.33(b) by not

exercising its third option year on its contract with the Oklahoma SLA (placing a limitation on the

operation of a vending facility) and issuing a new FFS solicitation, without fully justifying to the

Secretary its decision that such operation of a vending facility (i.e., the continued operation of the

Oklahoma SLA contract) would adversely affect the interests of the United States and (2) whether

the Army violated 20 U.S.C. §107d-3(e) of the RSA and 34 C.F.R. §§395. 33(a) and (b) by failing to

judge the proposal received from the Oklahoma SLA (ODRS) to be within the competitive range on

solicitation W9124J-18-R-0024 for dining facility services at Fort Sill and to be ranked among those

proposals which have a reasonable chance of being selected for the final award?

         The burden is on the SLA to show by substantial evidence that the Army violated the Act.

See 5 U.S.C. 554-557. Also, see Dickinson v. Zurko, 527 U.S. 150,164 (1999).


         to a jury, a refusal to direct a verdict when the conclusion to be drawn is one of fact.
         Illinois Central R.R v. Norfolk & Western Ry. 385 U.S. 57, 66, 87 S.Ct. 255, 17 L.

                                       Pennaco Energy. 377 F. 3d at 115 (Citations omitted)

         Prior to addressing the Merits of this case, the Panel is obligated to examine and rule on

threshold and jurisdictional issues properly brought before it by the parties. For the reasons set forth

below, the Panel rules that the jurisdictional and threshold issues raised in this hearing are without

merit.


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A.       Threshold/jurisdictional Issues
         After this Panel was convened by the Secretary of Education and selected by the parties as

required by RSA, Mitchco, Altstatt, and Cantu requested that they be permitted to intervene as

interested persons pursuant to 5 U.S.C. § 555(b). In granting the requests, the Panel made it clear that

                                                                                                                     ar under

U.S.C. § 555(b) does not grant an interested person standing as a Party to the proceeding. It does

allow them, where permitted, to appear to make their viewpoints known to the Arbitration Panel.

When Mitchco filed Motions to Dismiss and Motions In Limine prior to the commencement of the

hearing, the Panel ruled the Mitchco had no standing to file motions limiting the scope of the

arbitration and has no standing to file any dispositive motions. The Panel affirms that ruling here.

                                                                        Motion to Dismiss on the grounds of Res
Judicata, Collateral Estoppel, or Law of the Case, those issues were deemed properly before the
Panel. While not obligated to do so, the Panel will also address the additional meritless
jurisdictional claims raised by Mitchco. 9


9
  It is the opinion of this Panel that a
reasons: (1) Non-SLA bidders have no rights under the RSA to seek arbitration.
States, 74 Fed. Cl. 339, 345 (Fed. Cl. 2006); (2) Bidders other than SLAs are not within the zone of interests of the
RSA, the two part test of which requires (a) to discern the interests arguable to be protected, and (b) whether the
                                                  gency are among the interests to be protected. TAP Pharmaceuticals v.
                                          , 163 F.3d 199, 203 (1998). DOE advised the Panel that the intervention request
should be reviewed under the standards of 5 U.S.C. § 556(b), which per
presentation, adjustment, or determination of an issue, request, or controversy in a proceeding
                                         Id. In the context of an administrative hearing, in Envirocare of Utah, Inc. v.
                       , 194 F.3d 72, 75 (D.C. Cir. 1999),
standing," finding that                                                                                                  thin
the zone of interests of the AEA for the purpose of policing the license requirements of a competitor." Id. Applying the

provisions, a party asserting commercial interests satisfies the zone of interests test only if its interests put it in the same
                                                                                                  TAP. at 208. Here, the test
would ultimately turn on whether Congress intended for non-
Block v. Community Nutrition Institute, 467 U.S. 340 (1984). Where a statute provides for only particular persons to
challenge agency actions, the presumption favoring judicial review is overcome. Id. at 350-
                                          -licensed blind individuals with employment opportunities. Nevertheless, the
Panel construed the requests to intervene as requests to a

                                                                           pearances, the hearing in this matter
occupied three days, resulted in numerous pre- and post-hearing motions, and even the filing of a 107-page post-
                            person                                                                      interested
                                                                                                        erson
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         The panel has jurisdiction to hear this matter under 20 U.S.C. § 107d-1(a). 10 It has broad

powers under the RSA and its implementing regulations to hear arbitration cases. The ODRS has

petitioned the Secretary alleging violations of the RSA contract priority right under 20 U.S.C. § 107d-

1(b).11 The Secretary has appointed this panel to hear the issues identified by the Appointment

Letter.12(See also 34 C.F.R. §§ 395.37). The panel has provided this opinion to advise the Secretary



by ODRS, and is charged with reviewing those decisions to determine if the Army complied with 20

U.S.C. § 107(b)(2) that charges federal agencies to place one or more vending facilities on Federal



                                                                                              agency action subject to

appeal and review.13




appearance is not appropriate under 5 U.S.C. § 556(b) because, in the view of the Panel, the additional participation by
Mitchco, Can
                                                                                                              This is
especially so because Congress s
arbitration provision. S. REP. NO. 93-937.
10
   20 U.S.C. § 107d-1(a) Any blind licensee who is dissatisfied with any action arising from the operation or
administration of the vending facility program may submit to a State licensing agency a request for a full evidentiary
hearing, which shall be provided by such agency in accordance with section 107b(6) of this title. If such blind licensee
is dissatisfied with any action taken or decision rendered as a result of such hearing, he may file a complaint with the
Secretary who shall convene a panel to arbitrate the dispute pursuant to section 107d 2 of this title, and the decision of
such panel shall be final and binding on the parties except as otherwise provided in this chapter.
11
   20 U.S.C. § 107d-1(b) States: Whenever any State licensing agency determines that any department, agency, or
instrumentality of the United States that has control of the maintenance, operation, and protection of Federal property is
failing to comply with the provisions of this chapter or any regulations issued thereunder (including a limitation on the
placement or operation of a vending facility as described in section 107(b) of this title and the Se
determination thereon) such licensing agency may file a complaint with the Secretary who shall convene a panel to
arbitrate the dispute pursuant to section 107d 2 of this title, and the decision of such panel shall be final and binding on
the parties except as otherwise provided in this chapter.
12
   April 12, 2019 Department of Education letter reference Oklahoma v. Department of the Army, Fort Sill, Case no. R-
S/18-09, Carol L. Dobak, Acting Deputy Commissioner
13
   34 C.F.R. §§ 395.37 (a) Whenever any State Licensing Agency determines that any department, agency, or
instrumentality of the United States which has control of the maintenance, operation, and protection of Federal
property is failing to comply with the provisions of the Act or of this part and all informal attempts to resolve the
issues have been unsuccessful, such licensing agency may file a complaint with the Secretary.
(b) Upon receipt of a complaint filed under paragraph (a) of this section, the Secretary shall convene an ad hoc
arbitration panel which shall, in accordance with the provisions of 5 U.S.C. ch. 5, subchapter II, give notice, conduct a
hearing and render its decision which shall be final and binding on the parties except that such decision shall be subject
to appeal and review as a final agency action for purposes of the provisions of 5 U.S.C. ch. 7
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       The Army, through the adoption of Mitchco

are barred by Stari decisis, Res judicata, election of remedies, collateral estoppel, judicial estoppel,

law of the case, and comity principles, principally because it is alleged that the same issues before

this Panel were raised at CFC, GAO, and District Court without success, and this arbitration is

nothing more than a different forum in which it seeks a ruling on these same issues. This argument

has no merit.

        ODRS action seeking injunctive relief from the United States District Court for the Western

District of Oklahoma has no preclusive effect on this Panel. While the Court denied the injunctive

relief requested, it did not give a final judgment on the merits, but instead the case was dismissed

without prejudice. A dismissal without prejudice is a dismissal that does not operate as an

adjudication upon the merits, and thus does not have res judicata effect. See, Rolls-Royce Corp. v

Heros, Inc., 576 F.Supp.2d 765, 776 (N.D. Tex. 2008) citing

Corp., 531 U.S. 497, 505 (2001).

       The GAO lacks jurisdiction to review SLA complaints about agency compliance with the

RSA because Congress has specifically authorized the Secretary of the DOE, not GAO, to review

such complaints, as argued by ODRS. In its decision, the GAO confirms that ODRS properly filed

its arbitration demand challenging its elimination from the competitive range with the DOE

Secretary. In dismissing the protest of ODRS the GAO stated:

       In our view, this means that complaints, such as the resolution of the SLA's
       challenge of its exclusion from the competitive range, are subject to the RSA's
       binding arbitration provisions and are not for consideration by our Office under its
       bid protest jurisdiction. Maryland State Dept. of Educ., B-400583, B-400583.2, Nov.
       7, 2008, 2008 CPD~ 209 at 5. Thus, the DOE, rather than our Office, is the
       appropriate party to hear Oklahoma's challenge to the elimination of its proposal
       from the competitive range. As stated above, Oklahoma did not raise this challenge
       with our Office and instead properly filed an arbitration demand with DOE
       regarding this issue.



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           The Claims before the Court of Federal Claims 14 were not challenges to the application of the

RSA, and therefore, not the issues with which this Panel is tasked.



in compliance with the provisions of the RSA.

           Mit                             is Complaint is defective for failure to comply with Rule 3(b) of

the Arbitration Rules because the Complaint was not filed by the State Attorney General on behalf

of the State licensing agency, or by the State licensing agency with the written concurrence of the

State governor, has no merit. The DOE determined a year ago, when ruling on an Army request to

dismiss a similar Randolph-Sheppard Act arbitration, that a State may engage a private counsel to

represent it on these issues. The DOE stated:




           private attorney filing a complaint and request for arbitration on behalf of an SLA,
           we recognize that in the reality of State agency administrative and litigation matters,
           particularly in the Randolph- Sheppard Act area, a State may decide to engage
           private counsel to represent it in on these issues. As long as the Department of
           Education is made aware of the fact that the filing of the complaint and/or the
           engagement of the private counsel to represent the State agency in this matter is
           authorized by the legal representative authorized to represent the State licensing
           agency or by the State Governor, we conclude that the requirements of section 3(b)

           been met.

           ODRS is represented in this action by Winstead PC and the Oklahoma Office of the Attorney

General. Assistant Attorney General Richard D. Olderbak was co-counsel of record in this action and

filed an Application for Access to Information under Protective Order by Outside Counsel confirming

his representation of ODRS on behalf of the Oklahoma Office of the Attorney General. Counsel for

Winstead PC represented to this Panel in a December 17, 2019 email that Mr. Olderbak unexpectedly



14
     Oklahoma v. United States, 144 Fed. Cl. 263, 268 (2019).
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passed away prior to the arbitration hearing. New co-counsel for ODRS is Niki Batt, Vice Deputy

Attorney General with the Oklahoma Office of the Attorney General. Ms. Batt confirmed that Mr.

Olderbak, along with ODRS Executive Director Melinda Fruendt, and pursuant to Okla. Stat. tit. 7,

                                                                                                        th

the DOE by Winstead PC. Additionally, Ms. Batt attended each day of the arbitration proceeding as

counsel.



Process Clause of the Fifth Amendment and the U. S. Constitution has no merit. Mitchco has not

provided any evidence which would support a basis for any member of this Panel to recuse

him/herself. It has cited no evidence to support its supposition that a three-person arbitration panel

pursuant to Rule 6 of the Arbitration Rules violates due process. It provides no evidence even

suggesting that any of the arbitrators have any conflict of interest or that cause exists for its request.

The fact that two of the three arbitrators on a panel must agree to a resolution of the dispute, and the



appearance of a lack of, due process.



complaint, and the complaint is barred by laches is not supported by any facts presented to the panel

and is therefore without merit. Unlike GAO timeliness regulations, the RSA does not impose any

time deadline for an SLA to bring its claims to the DOE Secretary. See 20 U.S.C. §§ 107d-1(b);

107d-2(a) (without limitation, requiring the DOE Secretary to convene an ad hoc arbitration panel



Mitchco do not apply to this RSA proceeding. ODRS timely filed its Complaint with the DOE after

the Army rejected its complaint that the RSA was violated by not exercising the additional option

years on its contract, and then properly amended the Complaint at subsequent dates.

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       Under the affirmative defenses of laches, it must be demonstrated that there was an

inexcusable delay by the plaintiff in filing suit coupled with prejudice to the defendant as a result of

the delay. Mitchco failed to demonstrate any prejudice, let alone prejudice sufficient to establish

laches or waiver.



merit. Mitchco cites to numerous bid protest cases filed in the Court of Federal Claims which discuss

the jurisdictional requirement of interested party status and prejudice under the Tucker Act. See 28

U.S.C. § 1491(b)(1). None of these COFC bid protest cases discuss applying these jurisdictional

requirements to proceedings filed before a duly appointed RSA arbitration panel. This proceeding is

not a bid protest proceeding and accordingly, this argument is rejected.



                                                        -imposed ordinance that closes the doors of a

court of equity to one tainted with inequitableness or bad faith relative to the matter in which he seeks



               Precision Instrument Mfg. Co. v. Auto. Maint. Mach. Co., 324 U.S. 806, 814, 65 S.

Ct. 993, 89 L. Ed. 1381, 1945 (1945). Here, this arbitration panel is not a tribunal of equity. Thus,

this defense is not available to Mitchco in this proceeding.

       And finally, Mi                          the ODRS contract is a sham contract, because the work

at the cafeteria is not performed by blind individuals lacks merit as irrelevant to the issues in the

Complaint and the jurisdiction of this panel.

B.     Standard of Review

       A review of the Act, the Policies and Procedures for Converting and Conducting Arbitration

Pursuant to Sections 5(b) and 6 of the Randolph-

APA demonstrate that this panel is to conduct a de novo review of the

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decision that is subject to judicial review based upon the administrative record created by this Panel.



                                                                                      -2; see also Tex.

                                                       , 354 F. Supp. 3d 722, 731 (W.D. Tex. 2018).



dec



later be subject to judicial review. See, Randolph-Sheppard Vendors of America v. Weinberger, 795

F. 2d 90 (D.C. Cir. 1986).



        Section 107d-2(a) does not remotely suggest that the hearing is limited to a record review of

                                                                 -2(a) suggest that, while conducting

the hearing, the arbitration panel must give deference to decisions made by a contracting officer.

Instead, the t

arbitration panel to determine whether the agency violated the RSA by not properly affording the

contract priority right. This includes the taking of evidence and resolving factual disputes based upon

the evidence at the hearing and not on the underlying administrative record.

        Of equal significance, is that Section 107d-2(a) does not suggest that the hearing conducted

by the panel is an appeal of the underlying agency decisi



                               on a de novo basis. See Wilson v. Comm'r, 705 F.3d 980, 988 (9th Cir.

2013)



        This de novo review interpretation is further supported by Section 107d- 2(b)(2)(C) which

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                                                             -2(b)(2)] finds that the acts or practices

of any such department, agency, or instrumentality are in violation of this chapter, or any regulation

issued thereunder, the head of any such department, agency, or instrumentality shall cause such acts

or practices to be terminated promptly and shall take such other action as may be necessary to carry

                                                 - 2(b)(2)(C). Thus, the panel has




decision which is the appealable

determinations. Id. at § 107d-

acts, and practices under the RSA is de novo.

       A statutory interpretation which limits the

to contracting officer determinations under the RSA would be wholly inconsistent with the statutory



Accordingly, this panel has de novo

practices under the RSA. Any other standard would be contrary to the express grant of authority

exclusively reserved to the Secretary under the RSA.

       The position of the Army

record is misplaced. The APA standard sought by Mitchco does not apply to this proceeding.

Furthermore, where Congress has enacted a special statutory review process for administrative

action, that process applies to the exclusion of the Administrative Procedures Act (APA). Bowen v.

Massachusetts, 487 U.S. 879, 903, 108 S. Ct. 2722, 101 L. Ed. 2d 749 (1988); Steadman v. SEC, 450

                                                                        l provisions of the APA are

applicable only when Congress has not intended that a different standard be used in the administration



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           Here, Congress established a special statutory review process when an SLA determines that

a governmental agency failed to comply with the provisions and regulations of the RSA. See 20

U.S.C. § 107d-1(b). A position that

determinations, acts, and practices under the RSA is ne

holding in Bowen nor is it consistent with the statutory construction of the RSA.

C.         Merits



year on its contract for dining facility services with the ODRS was a limitation on the placement or

operation of a vending facility that must be justified to the Secretary of Education under 20 U.S.C.

§ 395.30(b). There is no dispute as to the facts in regard to this issue. The Army did make a

determination to not exercise the third-year option under contract W9124L-16-D-0001 and the

Army did not consult the Secretary prior to making that determination. This decision is strictly

limited to a statutory and regulatory interpretation of 20 U.S.C. § 107(b)(2).

           As examination of this issue is not based on contract law, but whether

lawful decision to eliminate the existing opportunity still needed to be reviewed in accordance with

the RSA, which required that the decision be approved by the Secretary of Education if it was a

limitation on the placement or operation of a vending facility. Based upon the facts presented in view

of the provisions of the RSA, the Panel finds that the Army violated the RSA when it failed to exercise

the

Secretary. This conclusion is supported by several factors.

           The legislative history of the RSA provides support for requiring a review. When the RSA

was amend
                                 15




15
     Sen Rep No. 93-937 (1974) (SR) at 3.
                                                    51
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Federal agency limitation on the placement or operation of a blind vending facility is justified, 16



for operation of the program with the DOE Secretary. 17Accordingly, the DOE
                                                                  18
the RSA



installations are singularly insensitive to the need to develop the program, 19

vending operations within the Defense Department are extensive, there is very little consideration
                                                                          20
given to the development of the Randolph-Sheppard program.



vendors have a prior right to do business on such property, and furthermore that, to the extent that a

minority business enterprise or non-blind operated vending machine competes with or otherwise

economically injures a blind vendor, every effort must be made to eliminate such competition or

injury.21

        Statutory and Regulatory provisions have implemented

Secretary have overall authority, as overseer throughout the Federal Government, of the RSA

implementation. The Secretary is given the responsibility to prescribe regulations, 22                     the sole

authority for a Federal agency to place a limitation on the placement or operation of a blind vending

facility,23 and the authority to convene an arbitration panel to determine if a Federal property is

failing to comply with the in section 107(b). 24


16
   Sen Rep No. 93-937 (1974) (SR) at 3.
17
   SR at 16, 17
18
   SR at 19
19
   SR at 10
20
   SR at 14
21
   SR at 15
22
   20 U.S.C. § 107(b). RSA regulations are entitled to deference because Congress made an express delegation of
authority to DOE. Chevron, U.S.A. v. Natural Resources Defense Council, 467 U.S. 837 (1984).
23
   Id.
24
   20 U.S.C. § 107d-1(b).
                                                         52
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                                                  has the exclusive authority to determine whether a

Federal Agency can remove a blind vendor from a vending Facility by making a decision to cease

contracting with a blind vendor. The                ation provides as follows:

       (b) Any limitation on the location or operation of a vending facility for blind
       vendors by a department, agency or instrumentality of the United States based on a
       finding that such location or operation or type of location or operation would
       adversely affect the interests of the United States shall be fully justified in writing to
       the Secretary who shall determine whether such limitation is warranted. A
       determination made by the Secretary concerning such limitation shall be binding on
       any department, agency, or instrumentality of the United States affected by such
       determination. The Secretary shall publish such determination in the FEDERAL
       REGISTER along with supporting documents directly relating to the determination.

       34 C.F.R. § 395.30(b). See                                           ., 368 F. Supp. 3d



       The Army argues that it did not limit the operation of its vending facility for

licensed blind vendor because it had the discretionary right under the current contract to exercise or

not exercise the option and, without exercising the option, there was no contract. Further, the

follow-on Solicitation, which included the RSA priority, invited ODRS to submit a proposal for the

FFS services, which it did. Since, the exercise of its right not to accept an additional option year

was an administrative decision, the RSA does not require a federal agency to justify every

administrative decision made by a contracting officer. By providing an opportunity to bid under a

new solicitation at the Facility, its non-exercise of the option did not limit the opportunity of the

blind vendor, which remained intact. The Panel does not find these arguments persuasive in light of

the specific language of 34 C.F.R. § 395.30(b).

       The non-exercise of the option had the effect of terminating the operation of a vending

facility for blind vendor services which had been provided for over fifteen years, as well as the

continued opportunity to provide services under additional option years. The Army argues that it

did not terminate the ODRS contract; it just did not renew it under its discretionary right in the
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contract.                                 limited future operations for a blind vendor who had already

demonstrated the feasibility and right to provide services at Fort Sill for five years. Regardless of

the choice of words, its action brought to a halt, ended, stopped, terminated an already

demonstrated right to a priority. It was a limitation. The issue is not whether the Army had the right

to limit its operation of its cafeteria to an already qualified blind vendor, but whether it was

required under the RSA to seek approval of the Secretary of the DOE before doing so. The Statute

is clear that it was required to do so.

        As argued by ODRS, the Panel finds the ruling in SourceAmerica, supra, to be insightful in

determining what is a limitation on the operation of a blind vendor. While the Army argues that the

ruling in SourceAmerica, supra, is distinguishable because the FFS in question there was

eliminating the contracting out of dining facilities altogether, which excluded the opportunity for

the blind vendor to continue providing services at all. In this case, the Army did retain the FFS

requirement, invited ODRS to compete, and applied the priority. The essence of the ruling of the

Court in SourceAmerica was that                                               t basic limitation on the

                                                    SourceAmerica also found that an RSA arbitration

panel correctly ruled that the Army failed to comply with the Review Requirement. Id. The Court

found that     his concern    that federal agencies were not doing all they could to ensure blind

vendors continued to operate dining facilities    is directly implicated by the Army's decision to

cease contracting with vendors for the operation of its dining facilities. Indeed, it is the exact

scenario that motivated the Senate to add the review provision. As such, the arbitration panel

correctly concluded that the Army's decision to discontinue the operation of its vending facilities by

a vendor triggered the RSA Review Requirement. Id. at 996.

        The specific facts of this case bring into question whether the election of the Army not to

exercise the option for an additional year and offer a new Solicitation was a ruse to avoid the

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requirements of the RSA. The majority of the panel believes it was. In 2015, its attempt to reduce the

dining facilities the blind vendor could service was deemed by an arbitration panel to be in violation

of the RSA and contracts were extended. From April 2016 through April 2017, the Brown/Blackstone

services were deemed unsatisfactory and in August 2017, because Ft. Sill believed it had

                                                      ODRS replaced the blind vendor team with

                                                                                     ducted increased

the level of inspections through January of 2019. For every month from August through December

2017, the Army issued CDRs to ODRS. While ODRS disputed many of the inspection results as an

improper application of the Contract requirements and terms, ODRS received no response to their

concerns. A history of poor performance was being developed without addressing the improper

application of the Contract terms. From January 2018 through January 2019, ODRS received no

CDRs, yet it was revealed in February 2019 that the Army had COR Reports for 13 months all

showing marginal performance. A history of poor performance was being developed. The COR

Reports cited continued poor performance and problems with undercooked food and pest control.

The Reports did not mention the steps ODRS took to address the problems. When the Army did not

exercise the next annual option on the Contract, it knew it had accumulated evidence of poor

performance, which ODRS was not given the opportunity to address until the Past Performance

Evaluation was disclosed to them in 2019. The Army essentially limited ODRS opportunity to

effectively bid on a new Solicitation when it caused the early termination of the option without any

justification to either ODRs or the Secretary of the DOE.

        Even though the Army provided ODRS with an opportunity to bid, we would agree with

ODRS that an opportunity to bid is not equivalent to an exercised option to continue operations. In

light of the facts above, t                       limitation on the operation of a vending facility for



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blind vendor                             fully justified in writing to the Secretary who shall determine

whether such limitation is warranted

        The Army claims that the decision to renew or not renew an option period in a cafeteria

contract is based on the Federal Acquisition Regulation (FAR) disputes clause. 25 When conducting

a procurement subject to the RSA, a federal agency s discretion is limited by the priority given to

blind vendors. The Competition in Contracting Act, 10 U.S.C. §2304 (the "CICA"), enacted in 1994,

directs the military to use full and open competition when contracting for property or services,

except in the case of procurement procedures otherwise expressly authorized by statute. The

provisions of the RSA fit the CICA s definition of procurement , authorizing the Secretary of

Education to secure the operation of cafeterias on federal property by blind licenses whether by

contract or otherwise. 20 U.S.C. §107d-3(e). Thus, neither the CICA nor the Federal Acquisition

Regulation (FAR) apply when the RSA s priority applies.26 The Army is not free, nor does it have

the discretion, to disregard the RSA

non-renewal of the option period is to be resolved through the Contracts Disputes Act is therefore

unavailing, as the RSA is such a procurement statute under which CICA, and the FAR, do not apply

except insofar as they do not                                                                      SA. This is

consistent with the ruling in Magic Brite Janitorial v. United States, 72 Fed. Cl. 719, 722 (2006),

wherein the United States Court of Federal Claims recognized that the government can limit such

                                                                       ia statute, regulation, or the terms of




25
  48 C.F.R. § 52-212-4(d).
26
  NISH v. Cohen, 247 F.3d 197, 201-204 (4th Cir. 2001); NISH v. Rumsfeld, 348 F.3d 1263, 1271-1272 (10th Cir.
2003)
                                                       56
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    The Panel accordingly concludes that the non-exercise of the option period by the Army under

the specific facts of this case                                                                    -

exercise was warranted was a violation of the RSA.

        The second issue to examine is whether the Army violated 20 U.S.C. §107d-3(e) of the RSA

and 34 C.F.R. §§395. 33(a) and (b) by failing to judge the proposal received from the Oklahoma SLA

(ODRS) to be within the competitive range on solicitation W9124J-18-R-0024 for dining facility

services at Fort Sill and to be ranked among those proposals which have a reasonable chance of being

selected for the final award?

        As noted in addressing the threshold issues presented, the Army argues that ODRS         claims

under the second issue amount to a bid protest and are not reviewable by an RSA Panel. Normally,

bidders on federal contracts must file bid protests in the Federal Court of Claims under the bid protest




administrative remedy      arbitration                 State of Kansas v. United States, 192 F. Supp.

3d 1184, 1193 (D. Kan. 2016), citing Kentucky v. United States, 424 F.3d 1222, 1225-29 (Fed. Cir.

2005). Such is the case here.

                                              Congress passed the RSA to provide employment

opportunities for the blind by granting priority to blind persons licensed by a State agency who wish

to operate vending and cafeteria facilities in government buildings. 20 U.S.C. § 107(b). The Act

divides responsibility for the blind vendor program between state and federal agencies. At the

federal level, the Secretary of Education interprets and enforces the provisions of the Act and

designates SLAs. 20 U.S.C. §§ 107a(a)(5) & 107b; 34 C.F.R. §§ 395.5 & 395.8.

        The Department of Education regulation regarding the operation of cafeterias by blind

vendors provides in pertinent part as follows:

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        a) Priority in the operation of cafeterias by blind vendors on Federal property shall
       be afforded when the Secretary determines, on an individual basis, and after
       consultation with the appropriate property managing department, agency, or
       instrumentality, that such operation can be provided at a reasonable cost, with food of
       a high quality comparable to that currently provided employees, whether by contract
       or otherwise. Such operation shall be expected to provide maximum employment
       opportunities to blind vendors to the greatest extent possible.

       b) In order to establish the ability of blind vendors to operate a cafeteria in such a
       manner as to provide food service at comparable cost and of comparable high quality
       as that available from other providers of cafeteria services, the appropriate State
       licensing agency shall be invited to respond to solicitations for offers when a cafeteria
       contract is contemplated by the appropriate property managing department, agency,
       or instrumentality. Such solicitations for offers shall establish criteria under which all
       responses will be judged. Such criteria may include sanitation practices, personnel,
       staffing, menu pricing and portion sizes, menu variety, budget and accounting
       practices. If the proposal received from the State licensing agency is judged to be
       within a competitive range and has been ranked among those proposals which have a
       reasonable chance of being selected for final award, the property managing
       department, agency, or instrumentality shall consult with the Secretary as required
       under paragraph (a) of this section. If the State licensing agency is dissatisfied with
       an action taken relative to its proposal, it may file a complaint with the Secretary under
       the provisions of §395.37. 34 C.F.R. § 395.33


       While it is clear from the above that this Panel has the authority to review the evidence

                                      osal was properly evaluated and improperly excluded from the

competitive range, the parties differ on the criteria to be used in resolving the issue. ODRS believes

that under C.F.R. § 395.33             solicitations for offers shall establish criteria under which all

responses will be judged

established criteria and by a biased reviewer, who was ½ of the evaluation team. As such, the Panel

can examine if ODRS was non-discriminately judged under the solicitation criteria in view of the

RSA.

       The Army maintains that, there is no statutory or regulatory guidance on the criteria to

determine if ODRS should have been included or excluded from the competitive range, and the panel

must therefore look t


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control the competitive source selection process used by the Army to make an award decision. The

solicitation included source selection terms as well as a number of regulatory and statutory clauses

that are required by the FAR and Army procurement regulations. Since

proposal was not included within the competitive range, the standard for reviewing a contracting

                                        proposals are included in the competitive range

            as stated in Southfork Systems v. United States, 141 F.3d 1124 (Fed. Cir, 1998). Further,

the Army argues that in examining the judgement of a contracting officer, the Panel should be

instructed by rulings of the United States Court of Federal Claims (COFC) and the GAO for guidance

                                                                                                      .

Generally, a reviewing tribunal should not substitute its judgment for that of the agency, but should

review the basis for the agency decision to determine if it was legally permissible, reasonable, and

supported by the facts and/or unreasonable, inconsistent with the solicitation criteria.

       Under either of the above review criteria, the majority of the Panel finds that the Army did

not fairly judge the past performance of ODRS, which skewed ODRS           opportunity to be judged in

the competitive range.                                                                     ent with the

established criteria or within the framework of FAR § 3.101-1 required for every evaluation. The

past performance evaluation board failed to consider relevant information ODRS provided to the

Army on local COR reports and investigations, on other contracts, and the confidential survey

returned by the Ft. Sam Houston Contracting Officer, even though the Solicitation promised that this

type of past performance information would be considered. The Army ignored the obvious conflict

of interest associated with Mr. Buchanan and allowed him to remain on the Past Performance

Evaluation board despite the mandates of FAR § 3.101-1. And, in the end, the Army relied upon a

March 5, 2020, letter from Ms. Abraham claiming Mr.                                           rate and

on-                                     ODRS responses to the inspection reports and her subsequent

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certification less than two weeks later which said ODRS is a responsible contractor with a satisfactory

performance history and a satisfactory record of ethical and business conduct.

       The above conclusions result not just from the review of past performance reports, which will

be discussed below, but also in light of factors that are viewed as creating a chilling effect on the

obligation of the Army take action that will not limit the economic opportunities for the blind under

20 U.S.C. § 107(b) and the obligation to provide a unbiased solicitation evaluation process in

conformance with the terms and conditions of the solicitation itself.

       Since 2001, blind vendors and their teaming partners have provided services at the Ft. Sill

cafeteria facilities through ODRS. Prior to the creation of the solicitation at issue, the Army

unsuccessfully attempted to reduce the scope of the cafeteria facilities at Ft. Sill in 2014, which was

ultimately deemed an unlawful limitation of economic opportunities for the blind vendors under the

RSA by a DOE Arbitration Panel in December of 2016. That led to a new contract consisting of one

base year and four additional option years on April 1, 2016. From April 2016 through April 2017,



Blackstone as unsatisfactory and effective August 1, 2017 ODRS appointed a new blind vendor

Altstatt and his teaming partner Cantu replaced the Brown/Blackstone team. As noted in the record,

almost immediately upon the placement of the new team, the Army stepped up inspections and issued

multiple inspection reports, the results of which were disputed by ODRS and/or were addressed with

an action plan(s).

       Even though ODRS complained about the methodology of the inspections, where observation



                             der the terms of the Contract), the Army did not respond and did not

change its methodology. It also did not address the issue in meetings with ODRS or through any



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correspondence. The Army also did not issue any Contract Discrepancy Reports or any Cure Notices

after 2017.

       The Army did, however, create monthly Contracting Officer Representative (COR) Reports



marginal, yet none of these reports were given to ODRS or Altstatt or Cantu, until February 2019.

Inspection reports were given to Altstatt/Cantu staff upon completion of an inspection, but no

Contract Discrepancy Reports or Cure Notices were issued. Meeting minutes from August 2018 to

December 2018 were reviewed and revealed that they did not reflect any of the alleged deficiencies.

       The Army changed it Inspection Report Forms to incorporate language that the DFAC



Standard DA prototypes have a signature line for Managers to acknowledge receipt of the inspection

                                            ODRS instructed managers to acknowledge receipt, but

not acknowledge deficiencies, because it had already repeatedly informed the Army that the observed

events were not deficiencies under the Contract. The COR added in his reports that their refusals

were continuing violations of not following terms of contract and regulatory requirements.

       Where customer complaints of the food service identified in the COR Reports formed some

of the basis for the unsatisfactory past performance of ODRS, ODRS was never informed of these

complaints until receiving the COR Reports after a 13-month period of inspections. Based upon

information provided in these COR Reports, there were approximately 24 customer complaints out

of 4,556,117 meals served. (.0005% of meals served).

       Even though the COR Reports indicated every month from January 2018 through January

2019 that ODRS provided

Reports were given to it. These reports and inspections formed the basis for the Past Performance



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Evaluation of ODRS, even though it was informed or given the opportunity to respond to the reports

for over 13 months.

            While ODRS did not see these COR reports at the time, because they were internal documents

of the Army, ODRS maintained in its response that the COR reports presented were inaccurate and

misleading as they were based upon an improper application of contract requirements. The Army

never responded to these repeated complaints. The COR reports were inconsistent with other

contemporaneous inspections conducted by other government inspectors at the same time. Most

importantly, and despite the                                                 the COR did not issue any

CDRs and no cure notices, and did not deduct any funds from ODRS for non-performance issues.

            Interestingly, prior to the expiration of the first year of the new ODRS contract, the Army

notifies ODRS it is not exercising the next year option on the contract, without justification to the

Secretary of the DOE, does not exercise the option 27, and issues a new solicitation, under which

ODRS is excluded from consideration within the competitive range based upon poor past

performance (from primarily disputed deficiency reports). This appears to a majority of the Panel as

an exerted effort to disadvantage a blind vendor.



To be sure, there were reports of improper cooking habits (raw chicken observed being served),

expired food, mislabeled food, time and temperature control checks not being performed, signing

and initialing discrepancies, and pest control. However, a review of ODRS responses reveal that

many of these contract deficiency reports were improperly issued because they documented alleged

deficiencies for tasks for which the deadline to be accomplished had not been passed pursuant to the

terms of the contract, or that represented minor signing and initialing discrepancies that did arise to

the level of a defect, or that the issues were addressed within the terms and conditions of the Contract.


27
     Which is the first time an option year was not exercised at Ft. Sill.
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       The complaints of ODRS that

inconsistent with the contract requirements take on relevance primarily to the extent they were a large

portion of the

performance, one of three determinant factors in evaluating whether it would be in the competitive

range under the new solicitation. It was suggested by the Army that Mr. Buchanan was just doing his

job and being thorough, but this increased inspection activity compared to routine inspections since

2001, coupled with the reporting of incidences as defects, which were not defects under the terms of

                   is suspect.

       Further, the review of the evaluation team for past performance is suspect. The Solicitation

was required to consider information from: the Past Performance Information Retrieval System

(PPIRS), Federal Awardee Performance and Integrity Information System (FAPIIS), Electronic

Subcontractor Reporting System (eSRS) or other databases; and may be obtained from other sources

available to the Government, such as the Defense Contract Management Agency; and interviews with

program managers, contracting officers, and fee determining officials. The exhibits presented and the

testimony given indicates that the Army considered primarily the Buchanan Inspection team reports

and did not consider

proposal, such as the confidential survey returned by the Ft. Sam Houston Contracting Officer

showing satisfactory performance across all functional areas for Cantu and its Texas SLA teaming

partner, and the

detailed                                                    . The evidence reflects that every other

inspection conducted by someone other than Mr. Buchannan scored ODRS and its team members as



       At the same time that the Army was conducting its source selection in this case, in order to

allow ODRS to continue to operate the cafeteria pursuant to a bridge contract, Ms. Abraham was

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certifying to her chain of command that ODRS had a satisfactory performance history, was an ethical

contractor and was a responsible contractor

                                                     contract disputes were ongoing, but she testified

that ODRS was capable of delivering cafeteria services.

       The above, standing alone, may have passed muster based upon giving the benefit of the

doubt to a contracting officer, but it does not when that contracting officer is ½ of the past

performance evaluation team having a major impact on a final evaluation of the contracting officer

reviewing the results of the evaluation for the solicitation. While the Army separates the proposals

into Technical, Past Performance and Pricing, past performance is a major component, which was

skewed in this instance. Mr. Buchanan had a clear conflict of interest because he was not a person

that was able to render impartial assistance or advice to the Government.

       While Mr. Buchanan was listed as a fact witness by the Army, he was not called to challenge

the testimony that his inspections were improper, overzealous and inconsistent with the contract

requirements or that he was biased in performing his duties as part of the solicitation past performance

evaluation team.

       While other former employees of Cantu testified as to poor past performance of the

Altstatt/Cantu team, the Panel did not give great weight to their testimony since they were current

employees of the vendor providing cafeteria services at Ft. Sill that replaced their former employer.

       Had a proper evaluation been conducted by unconflicted evaluators who considered all the

                                                                                    certification to her

                                                           it would be more likely than not that ODRS

past performance would have been found to be acceptable. For these reasons, the past performance

evaluation conducted by the Army violates the Past Performance Criteria of the Solicitation and 34



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C.F.R. § 395.33(b) and should not been used by the Army to exclude ODRS from the competitive

range.

         ODRS argues that the Army also

a solicitation that required pricing based upon a meal band payment system that obligated the

contractor to staff the contract to provide more food service than the Army would pay for. Although

the Army rated ODRS as technically competent to perform the contract, the Army chose not to clarify

any confusion as to how many meals would actually be served and because ODRS was not placed in

the competitive range, did not conduct meaningful discussions about pricing with it. ODRS opines

that, if the Army had clearly stated that it would timely provide the amount of meals to be served, as

it had in past solicitations, ODRS would have submitted a price proposal acceptable to the Army just

as it had done for decades.

                                                   $145.7 million, which was $42 million more than

Mitchco, the awardee, and approximately $36 million more than one of the other offers included

within the competitive range. It was the highest price offered amongst the technically acceptable

offers. Based on this information, the Army determined ODRS pricing was unreasonably high. Based

upon an initial examination of whether the price was reasonable, it cannot be concluded that it was

                                                                                     , by itself, was

unreasonable. ODRS argued that if the Army had provided it with information concerning advanced

head counts, it would have bid a lower price. Further, if the Army had engaged in meaningful

discussions with it about pricing, it could have provided a lower price that would have been

successful. The problem with this argument is that all of the other seven offerors were given the same

information and provided much lower bids and the Army was not obligated to enter into meaningful

discussions until ODRS was placed in the competitive range. As a result, it cannot be concluded that

the Army violated the RSA when it determined that ODRS bid was unreasonably high.

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           The Army did violate the terms of the RSA, however, by not including ODRS within the

competitive range so that meaningful discussions could have ensued as envisioned by the RSA.

           The RSA        implementing regulations require the application of the priority and meaningful



competitive range and has been ranked among those proposals which have a reasonable chance of

                                                                 . If ODRS past performance rating was

properly placed in the Satisfactory category, as it could very well have been with an unbiased

evaluation team, and in light of ample evidence that it has been able to provide service at a reasonable



                                                                                                       hould

have been placed in the competitive range to enable it to have meaningful discussions about the price.

                                                                         -Sheppard Vending Program by

                                                            addresses how a competitive range is to be

established as it relates to evaluating an RSA offeror:

            The Competitive Range: Upon completion of the evaluation for scoring proposals,
           the FPMA will establish the competitive range to include all scored proposals which
           demonstrate they can provide the proposed cafeteria service and have a reasonable
           chance of being selected for award. Considering the clear intent of the Act, the
           determining factor for judging whether a proposal [of the SLA] should be within the
           competitive range is if the offer can be made acceptable by conducting meaningful
           discussions. To be more specific, this should be interpreted as meaning whether the
           contracting officer is of the opinion that clarification, modification, or appropriate
           minor revision to the SLA proposal may result in the offer being fully acceptable. This
           judgment would be consistent with an action involving a commercial offeror under
           comparable circumstances. The proposal must be considered within the competitive
           range unless it is technically inferior or contains unduly high selling prices to patrons
           that the possibility of being made acceptable through meaningful negotiations is
           precluded... 28




28
     At Chapter VII, (3)(b)(3)
                                                      66
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       Mitchco argues, and notably the Army did not, that the RSA Manual is not a regulation and

the Army was not bound by it. While it is correct that it is not a regulation

interpretative ruling on the application of the statute and its regulations and instructive to the Army.

When an agency issues an interpretive ruling regarding a statute or regulation, without the benefit of



                                          Skidmore v. Swift & Co., 323 U.S. 134, 140 (1944). Under

the Skidmore deference, t

thoroughness evident in its consideration, the validity of its reasoning, its consistency with earlier

and later pronouncements, and all those factors which give it power to persuade, if lacking power to

control. Id. Since these guidelines have been in effect since 1988, they are persuasive in determining

when and how an RSA licensed vendor is to be considered in the competitive range.

       While ODRS                                      t was found to be technically acceptable and, as

discussed above, should have been found to have had a satisfactory past performance. With a

technically acceptable rating and a satisfactory past performance, it should have been placed in the

competitive ra

       Because ODRS was technically acceptable and has delivered cafeteria services at Ft. Sill for

many years, it is more likely than not it would have had a proposal that would be ranked among those

proposals with a reasonable chance of being selected for final award, but for the Army unfairly

judging its past performance and not entering into meaningful discussions about its pricing.

       I                                            could have been lowered had the Army and both

agreed to be contractually bound to provide three-day notice of meal counts and properly conducted

meaningful discussions with ODRS as to its price. Instead, the Army decided to rely on biased

evaluations, and on the price that ODRS believed it had to provide to staff at the higher end of the

meal bands based on its past performance of the contract at Ft. Lee to disqualify ODRS. Under these

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                                                                                 ompetitive range and to

conduct meaningful discussions violated the RSA.

                                               Conclusion

        For the foregoing reasons, a majority of the Panel concludes that the non-exercise of the

                                                                                             that the non-

exercise was warranted was a violation of the RSA and further finds that there was significant

evidence the Army unfairly evaluated ODRS past performance with respect to the criteria set forth

in the solicitation. By failing to evaluate the OD        bid proposal properly, the contracting officer

improperly denied the SLA an opportunity to obtain the contract and, thereby, violated the RSA.

        The Rules governing arbitration under the RSA state as follows:

        If the decision of the arbitration panel is that the acts or practices of the Federal agency
        are in violation of the Act or the regulations, the head of the Federal agency shall
        cause such acts or practices to be terminated promptly and shall take such other action
        as may be necessary to carry out the decision of the panel.

The Panel has found there was a violation of the RSA. Respondent must take action to carry

out the decision of the Panel. It is the opinion of the Panel that the actions that the head of the Federal

agency should take to ensure compliance with the R-S Act is for Respondent to permit ODRS to

complete the option terms of their contract and include the SLA in the competitive range and

commence negotiations with it.

Dated June 22, 2020.


/s/ Jerry B. Sellman______________
Jerry B. Sellman, Chair

/s/ Susan Rockwell Gashel________
Susan Rockwell Gashel, Member, Concurring

/s/ Steven R. Fuscher____________
Steven R. Fuscher, Member, Dissenting


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                                            Dissent to Majority Decision

                                                    Steve Fuscher



1.
original intent of the statute. The majority ignores facts supporting efforts by the Army to limit bias and an
organizational source selection structure designed to ensure an evaluation of all proposals consistent with
the terms of the solicitation; assumes that if ODRS was given the opportunity to participate in meaningful
discussions, ODRS would have lowed its price; and relies on a 1988 DOE document to opine that the Army
is bound to a definition of the competitive range that has never been incorporated into RSA regulations.
The following will address these issues in some detail.
2.       The RSA is not an entitlement program. The RSA was passed by Congress to provide opportunities
for blind vendors to develop management skills through the operation of dining hall facilities. The RSA did
not create an entitlement program for blind vendors through the SLAs that involves the Secretary in all
contract administrative decisions made by a federal agency. The matter before the panel specifically
focuses on the obligation of the Army to justify to the Secretary a decision to not exercise an option under
a food service contract and whether the SLA is required by the RSA to be placed in the competitive range
even when the panel agrees that the price proposed by the SLA is unreasonably high.
3.                                                                                            t merit since the panel
has jurisdiction under 20 U.S.C. § 107d-1(a).29 The panel has broad powers under the RSA and its
implementing regulations to hear arbitration cases. ODRS has petitioned the Secretary alleging violations
of the RSA contract priority right under 20 U.S.C. § 107d-1(b) 30. The Secretary has appointed this panel to




29
   20 U.S.C. § 107d-1(a) states: Any blind licensee who is dissatisfied with any action arising from the operation or
administration of the vending facility program may submit to a State licensing agency a request for a full evidentiary
hearing, which shall be provided by such agency in accordance with section 107b(6) of this title. If such blind licensee
is dissatisfied with any action taken or decision rendered as a result of such hearing, he may file a complaint with
the Secretary who shall convene a panel to arbitrate the dispute pursuant to section 107d 2 of this title, and the
decision of such panel shall be final and binding on the parties except as otherwise provided in this chapter.
30
   20 U.S.C. § 107d-1(b) states: Whenever any State licensing agency determines that any department, agency, or
instrumentality of the United States that has control of the maintenance, operation, and protection of Federal
property is failing to comply with the provisions of this chapter or any regulations issued thereunder (including a
limitation on the placement or operation of a vending facility as described in section 107(b) of this title and
the            s determination thereon) such licensing agency may file a complaint with the Secretary who shall
convene a panel to arbitrate the dispute pursuant to section 107d 2 of this title, and the decision of such panel shall
be final and binding on the parties except as otherwise provided in this chapter.

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hear the issues identified by the Appointment Letter31 (See also 34 C.F.R. §§ 395.37). The panel has
provided this opinion to advise the Secretary as to whether the Army violated the RSA. This is the charter
                                                  panel is authorized to determine only whether the federal
department, agency, or instrumentality violated the RSA or its regulations. 20 U.S.C. § 107d-2(b)(2); Md.
Dep't of Educ. v. Dep't of Veterans Affairs, 98 F.3d 165, 169 (4th Cir. 1996). The panel is not bound by the
                                                                                                                   he
Army complied with 20 U.S.C. § 107(b)(2) that charges federal agencies to place one or more vending


                                    or purposes of the judicial review provisions of the Administrative
Procedure Act ("APA"), 5 U.S.C. § 701 et seq. and 20 U.S.C. § 107d-2(a), the
agency action subject to appeal and review.32 If such a violation is found, the head of the federal
department, agency, or instrumentality, not the Secretary, is responsible for remedying the violation. 20
U.S.C.§107d-2(b)(2); Md. Dep't of Educ.,98 F.3d at 169.

4.       While the decision of the panel is a final agency action, the Secretary has no authority to enforce
an order of the panel to direct the contracting officer to take action, such as the termination of a contract,
or an order directing the contracting officer to obligate funds. The 11 th Circuit Court of Appeals in Georgia
                   Resources v. Nash, et al., 915 F.2d 1482 (11 th Cir. 1990) found that an arbitration panel


                                                                     e RSA, but the RSA leaves responsibility for
                                                                                       Resources v. Nash, et al., 915
F.2d 1482, 1492 (11th Cir. 1990).
5.       In a subsequent court review of an RSA arbitration decision, the G
case was cited with approval in Commonwealth of Kentucky v. United States, 122914 KYWDC, 5:12-CV-


31
  April 12, 2019 Department of Education letter reference Oklahoma v. Department of the Army, Fort Sill, Case no. R-
S/18-09, Carol L. Dobak, Acting Deputy Commissioner.
32
   See also, 34 C.F.R. §§ 395.37 (a) Whenever any State Licensing Agency determines that any department, agency, or
instrumentality of the United States which has control of the maintenance, operation, and protection of Federal
property is failing to comply with the provisions of the Act or of this part and all informal attempts to resolve the
issues have been unsuccessful, such licensing agency may file a complaint with the Secretary.

(b) Upon receipt of a complaint filed under paragraph (a) of this section, the Secretary shall convene an ad hoc
arbitration panel which shall, in accordance with the provisions of 5 U.S.C. ch. 5, subchapter II, give notice, conduct a
hearing and render its decision which shall be final and binding on the parties except that such decision shall be
subject to appeal and review as a final agency action for purposes of the provisions of 5 U.S.C. ch. 7.


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00132-
considering such a conflict may determine whether or not the federal entity has complied with the RSA but


                                                                          on has no authority to order another
                                                Commonwealth of Kentucky v. United States, 122914 KYWDC,
5:12-CV-00132-TBR.
6.         Finally, in Maryland                                                              , 98 F.3d 165 (4th Cir.
1996), the Fourth Circuit Court of Appeals agreed that a Section 107d-1(b) arbitration panel lacks authority
to award a specific remedy for a violation of the RSA. That Court acknowledged that a federal entity could
                                        tions found by an arbitration panel, which comes close to a wrong
without a remedy, something usually disdained by the courts. Therefore, while the panel may identify acts
of the Army that are in violation of the RSA, the panel has no authority to order remedies for such
violations. That responsibility lies with the head of the procuring agency.
 7.
will conduct their own de novo review of the matter before the panel. As will be discussed below, the
courts are not required to give this decision any deference and will come to their own legal conclusions.
While the facts presented by the parties to the panel will be relevant to the court, the court will weigh
those facts in a manner consistent with the review standard established by the court, not the panel.
 8.        The first issue before the panel addresses the obligation, if any, of the Army to justify its decision
to not exercise an option to the Secretary. I concur that the issue before the panel is:



           facility services with the Oklahoma SLA is a limitation on the placement or operation of a vending
           facility that must be justified to the Secretary of Education under 20 U.S.C. § 395.30(b), and then,
           whether the Army violated the Randolph Sheppard Act (RSA)(Act) at 20 U.S.C. §107(b) and
           implementing regulations 34 C.F.R. §§395.30(b) and 395.33(b) by not exercising its third option
           year on its contract with the Oklahoma SLA (placing a limitation on the operation of a vending
           facility) and issuing a new FFS solicitation, without fully justifying to the Secretary its decision that
           such operation of a vending facility (i.e., the continued operation of the Oklahoma SLA contract)
           would adversely affect the interests of the United States. (Arbitration Count No.1)


9.         Congress passed the RSA in 1936 to provide blind persons with increased employment
opportunities through the operation of vending facilities on federal property. 33 The RSA was




33
     20 U.S.C. § 107(b).
                                                          71
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amended in 1974. Neither the RSA nor the applicable Department of Education (DOE) regulations, 34
C.F.R. §§395 et seq have been amended or revised since their implementation in 1977.
10.        Under the RSA, blind vendors do not apply directly for government contracts.34 The RSA
requires blind vendors to register with a State Licensing Agency (SLA), which in turn applies for
contracts involving the operation of vending facilities.35
11.        Cafeteria contracts, such as Full Food Service Contracts (FFS) that are subject to the RSA, may be
solicited by federal agencies or awarded through direct negotiations. This procurement action for FFS
contract services was solicited by the Army and awarded through a competitive bid process. The Army
did not elect to directly negotiate with the SLA under the express authority of 34 C.F.R. § 395.33(d).
Prior to the award of ID/IQ Contract W9124L-16-D-0001 on 1 April 2016, the Army elected to not
exercise the third-year option in Contract W9124L-16-D-0001. Contract W9124L-16-D-0001 authorized
the provision of FFS contract services for one twelve-month base year and four twelve-month option
                                                                                      itation to combine the work
authorized by this contract at Fort Sill with another contract being performed by ODRS rather than
exercise option two of the contract. As a result, none of the remaining options were exercised under
contract W9124L-16-D-0001.
12.        ODRS was provided the opportunity to compete for the award of Contract W9124L-16-D-0001
for the FFS contract services in the subsequent solicitation and was granted the priority authorized by 20
U.S.C. § 107 et seq. 20U.S.C . § 107-                               e Secretary, through the Commissioner, shall
prescribe regulations to establish a priority for the operation of cafeterias on Federal property by blind
licensees when he determines, on an individual basis and after consultation with the head of the
appropriate installation, that such operation can be provided at a reasonable cost with food of a high
                                                                                                         36



13.        Consistent with the implementing regulations, 34 C.F.R. §395.3337, the Army invited ODRS to
respond to the new solicitation. ODRS submitted a proposal in response to the solicitation advertised

34
   Id. §107a(a)(5).
35
   34 C.F.R. § 395.33.
36
   Id.
37
     34 C.F.R. § 395.33 Operation of cafeterias by blind vendors.

(a) Priority in the operation of cafeterias by blind vendors on Federal property shall be afforded when
the Secretary determines, on an individual basis, and after consultation with the appropriate property managing
department, agency, or instrumentality, that such operation can be provided at a reasonable cost, with food of a high
quality comparable to that currently provided employees, whether by contract or otherwise. Such operation shall be
expected to provide maximum employment opportunities to blind vendors to the greatest extent possible.

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by the Army. This proposal included the services provided by Contract W9124L-16-D-0001 as well as
additional services that were under contract with ODRS. ODRS continued to provide services to the
Army under Contract W9124L-16-D-0001 during the source selection process. In order to ensure
continued FFS contract services during the source selection process, contract performance was
extended under Contract W9124L-16-D-0001 until 30 August 2019.
14.      The new solicitation was issued on 6 June 2018 and subsequently modified and reissued on 31
August 2018. The solicitation was modified to address, in part, corrective action required to resolve


response to the modified solicitation.
15.      The Secretary appointed this panel to determine, whether in the opinion of the panel, the


Oklahoma SLA was a limitation on the placement or operation of a vending facility that must be justified
to the Secretary of Education under 20 U.S.C. § 395.30(b).
16.      ODRS argues that 20 U.S.C. § 107(b)(2)38 requires, as a precondition to issuing the solicitation,


affects the
limitation on the operation of a FFS facility that must be justified to the Secretary and the determination



(b) In order to establish the ability of blind vendors to operate a cafeteria in such a manner as to provide food
service at comparable cost and of comparable high quality as that available from other providers
of cafeteria services, the appropriate State licensing agency shall be invited to respond to solicitations for offers
when a cafeteria contract is contemplated by the appropriate property managing department, agency, or
instrumentality. Such solicitations for offers shall establish criteria under which all responses will be judged. Such
criteria may include sanitation practices, personnel, staffing, menu pricing and portion sizes, menu variety, budget
and accounting practices. If the proposal received from the State licensing agency is judged to be within a
competitive range and has been ranked among those proposals which have a reasonable chance of being selected for
final award, the property managing department, agency, or instrumentality shall consult with the Secretary as
required under paragraph (a) of this section. If the State licensing agency is dissatisfied with an action taken relative
to its proposal, it may file a complaint with the Secretary under the provisions of § 395.37.

38
  20 U.S.C. § 107(b)(2) states: wherever feasible, one or more vending facilities are established on all Federal
property to the extent that any such facility or facilities would not adversely affect the interests of the United States.
Any limitation on the placement or operation of a vending facility based on a finding that such placement or
operation would adversely affect the interests of the United States shall be fully justified in writing to the Secretary
who shall determine whether such limitation is justified. A determination made by the Secretary pursuant to this
provision shall be binding on any department, agency, or instrumentality of the United States affected by such
determination. The Secretary shall publish such determination, along with supporting documentation, in the Federal
Register.

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of the Secretary is binding on the Army.39 The Army did not submit a justification to the Secretary of the
DoE before deciding and implementing a contracting officer decision to not exercise an option under
contract W9124L-16-D-0001.
17.                                                                                        e the SLA to submit a
proposal and apply the priority to the source selection process where the contract is subject to the RSA
and its preference and that no cut in services are included in the new solicitation. The action taken by
the Army has not limite
option of the current contract is no different than the SLA competing for a new contract. Consistent with
the RSA, the SLA was invited to submit a proposal and the solicitation included the RSA priority. 34 C.F.R.
§ 395.33(b) states in part:
         In order to establish the ability of blind vendors to operate a cafeteria in such a manner as to
         provide food service at comparable cost and of comparable high quality as that available from
         other providers of cafeteria services, the appropriate State licensing agency shall be invited to
         respond to solicitations for offers when a cafeteria contract is contemplated by the appropriate
         property managing department, agency, or instrumentality. Such solicitations for offers shall
         establish criteria under which all responses will be judged.

ODRS has not objected to the terms of the solicitation and the solicitation did establish criteria under
which all proposals in this source selection were judged.
18.                                                                             20 U.S.C. § 107(b)(2) states in part:
                                   Secretary pursuant to this provision shall be binding on any department,
                                                                                            40
agency, or instrumentality of the United States affected by such determinat                      The statute does not
authorize the Secretary to enforce the finding except to
                                                           41
                                                                Neither the RSA nor its implementing regulations
require the Army justify its decision to not exercise the option as a precondition to issuing a solicitation for
similar FFS services under a new contract with no cut in services covered by the expired contract with the
SLA (ODRS).
19.      The majority argues for the expansion of the application of SourceAmerica v. United States Dep't
of Educ., 368 F. Supp. 3d 974, 995-996 (E.D. Va., March 15, 2019). Citing SourceAmerica, the majority
opines that the failure of the Army to exercise an option under the existing contract is a limitation on the
operation of a facility under 20 U.S.C. § 107(b)(2).              Reliance on SourceAmerica is misplaced.               In
SourceAmerica the SLA completed services under its contract with the Army; however, the SLA had no


39
   See footnote 2 for the full text of 34 C.F.R. § 395.33 Operation of cafeterias by blind vendors.
40
   Id.
41
   Ibid.
                                                            74
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opportunity to compete for the FFS contract services under a follow-on contract because the Army was
going to provide those services with Army personnel. The facts of SourceAmerica are summarized by the
district court as follows:
           The Army subsequently determined that it no longer needed a FFS contract because Army soldiers
           formerly deployed in Iraq and Afghanistan could perform most of the duties, including cooking, at the
           Fort Riley dining facilities. However, because Army regulations prohibited soldiers from performing DFA
           services, the Army was required to contract out these services. Thus, the Army decided that it would
           procure a new contract, effective upon the conclusion of Kansas's contract, that covered only DFA
           services. Specifically, this new DFA contract would be for "janitorial and custodial duties within dining
           facilities [and] [i]include[ ] ... cleaning, sweeping, mopping, scrubbing, trash removal, dishwashing,
           waxing, stripping, buffing, window washing, pot and pan cleaning and other sanitation related
           functions." Draft of Solicitation, Offer, and Award for DFA Services 7 (July 20, 2015), at Admin. R. 1002.
           Believing that a contract covering only DFA services did not constitute the operation of vending
           facilities, the Army concluded that the new contract would not be subject to the RSA's preference for
           blind vendors in the operation of vending facilities. Accordingly, the Army instead sought to procure a
           contract pursuant to the JWOD42. To that end, the Commission proposed adding the Fort Riley DFA
           services to the JWOD's procurement list through publication in the Federal Register in July 2015. The
           Commission ultimately added the DFA services to the procurement list and formally designated
           Lakeview as the mandatory source of supply, effective February 2016. SourceAmerica facilitated the
           process.

           In March 2015, the Army informed Kansas that, following the conclusion of Kansas's contract, the Army
           would purchase only DFA services through a new contract not subject to the RSA. Dissatisfied with this
           turn of events and convinced that the new DFA contract was subject to the RSA, Kansas, in May 2015,
           filed a request with the Secretary for arbitration with the Army. As required by the RSA, the Secretary,
           in October 2016, convened a three-member panel to arbitrate the dispute. Id. at 368 F.Supp.3d 984.

20.        There is no dispute that ODRS was invited to compete for FFS contract services and was provided
the priority authorized by the RSA. ODRS was not excluded from the opportunity to compete for FFS
contract services. It was invited to compete and did compete. ODRS was also granted the RSA preference.
Unlike the Licensed Vendor in SourceAmerica, ODRS was allowed to compete for a FFS contract.
SourceAmerica does not stand for the proposition that a federal agency must fully justify a decision to not
exercise an option under a contract subject to the RSA, it stands for the proposition that the RSA review
requirement applies when a federal agency eliminates a requirement that had provided a licensed vendor
the opportunity to provide services covered by the RSA. The court in SourceAmerica stated its position as
follows:
           The RSA Review Requirement directs that "[a]ny limitation on the placement or operation of a vending
           facility based on a finding that such placement or operation would adversely affect the interests of the
           United States shall be fully justified in writing to the Secretary, who shall determine whether such



42
  JWOD refers to the Javits-Wagner-O'Day Act ("JWOD"), 41 U.S.C. §§ 8501-8506. The Act also creates a preference
for the blind in federal contracting actions.

                                                          75
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         limitation is justified."43 Id. Plaintiffs and defendants argue that the Army's decision to no longer
         procure a contract for the operation of its vending facilities at Fort Riley did not trigger this provision
         because it does not constitute a "limitation on the ... operation of a vending facility." Id. Specifically,
         plaintiffs and defendants argue that the RSA Review Requirement applies only to restrictions on where
         or how a vending facility may be operated. This argument fails. Under the Army's plan, the operation of
         Fort Riley dining facilities was to be limited in that the facilities would not be operated by a vendor at
         all. Removing a vendor entirely is the most basic limitation on the operation of vending facilities of all.
         Indeed, the legislative history confirms this view. Specifically, the Senate Report explains that the RSA
         Review Requirement was added, in part, because "[f]ederal agencies had not done all they could to
         insure the establishment and the maintenance of blind vendors on property under their control." 22 S.
         Rep. No. 93-937, at 16 (1974) (emphasis added). This concern that federal agencies were not doing all
         they could to ensure blind vendors continued to operate dining facilities is directly implicated by the
         Army's decision to cease contracting with vendors for the operation of its dining facilities. Indeed, it is
         the exact scenario that motivated the Senate to add the review provision. As such, the arbitration panel
         correctly concluded that the Army's decision to discontinue the operation of its vending facilities by a
         vendor triggered the RSA Review Requirement [emphasis added]. And the arbitration panel correctly
         concluded that the Army failed to comply with this requirement. The panel's finding to this effect must
         be upheld.44

21.      Since the Army did retain the FFS requirement, invited ODRS to compete and applied the priority,
                                                                                                  Contract
W9124L-16-D-000 is similar to an Army decision to compete a contract requirement rather than negotiate
directly with the state licensing agency under the express authority of 34 C.F.R. § 395.33(d). There is no
requirement under 34 C.F.R. § 395.33(d) to justify to the Secretary why the parties were not able to
                                                          That the provisions of paragraphs (a) and (b) of this
section shall apply in the event that the negotiations authorized by this paragraph do not result in a
             45
                  As discussed above, paragraphs (a) and (b) describe how the RSA applies to competitive
source selections.
22.      The facts in SourceAmerica and the finding in SourceAmerica do not establish a precedent to
expand the RSA to include administrative decisions made by contracting officers. Neither the RSA nor its
regulations require a federal agency justify to the Secretary a decision to not exercise an option under a
contract c


action allowed ODRS to compete for FFS dining hall services at Fort Sill just as if it were a new




provides a priority for award under certain well-

43
    The court cited 20 U.S.C. § 107(b) and referenced the provisions of the statute.
44
   SourceAmerica at 368 F.Supp.3d at 996.
45
   Id.
                                                           76
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the award of a FFS contract with a federal agency. In addition, there is no court precedent that
specifically imposes that obligation on a federal agency.
23.
                                                            acterization of the RSA priority. The priority applies
to the award of a contract, not the exercise of an option under an existing contract. Contrary to the
opinion of the majority, the RSA does not limit the exercise of an option as suggested by the majo
reference to Magic Brite Janitorial v. United States, Supra. Neither the RSA or its implementing
regulations require a federal agency consult the Secretary prior to not exercising a contract option.
24.      PAST PERFORMANCE: Similarly, I do not concur with


is:
         Whether the Army violated 20 U.S.C. §107d-3(e) of the RSA and 34 C.F.R. §§395. 33(a) and
         (b) by failing to judge the proposal received from the Oklahoma SLA (ODRS) to be within
         the competitive range on solicitation W9124J-18-R-0024 for dining facility services at Fort
         Sill and to be ranked among those proposals which have a reasonable chance of being
         selected for the final award? (Arbitration Count Nos. 3,4,5,6.)

25.      My interpretation of the facts and the review standard to be applied to the facts presented by the
                                                                                                     limited


a de novo
the courts in reviewing the decisions of a contracting officer.

26.      While ODRS has argued bias and unfair treatment by the Army, ODRS has failed to meet its burden
of proof that the Army violated 20 U.S.C. §107d-3(e) of the RSA when the Army determined ODRS was not
included in the competitive range because it was not ranked among those proposes which have a
reasonable chance of being selected for final award. A short summary of the RSA and its relevant
regulations is necessary to focus the analysis of the issues before the panel.

27.      All federal contract requirements that involve the obligation of federal funds are required to be
 competed unless there is a statutory exception to the Competition in Contracting Act (CICA) 46. The RSA

46
   The Competition in Contracting Act (CICA) of 1984, 41 U.S.C. 253, is United States legislation governing the award
of contract services involving the obligation of appropriated funds. It requires U.S. federal government agencies to
                                                                                           procurement activities unless
otherwise authorized by law. CICA was passed into law as a foundation for the Federal Acquisition Regulation (FAR)
                                                          77
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 provides the necessary authorization for a contracting officer to enter into sole source negotiations with a
 SLA for a FFS dining hall services contract. A sole source award is permitted as long as the SLA can provide
                                                                                                      ded
                47



28.      If a contract does not result from direct negotiations with the SLA, then the federal agency
competes the contract. In that event, 34 C.F.R §395.33(a) and (b) apply. 34 C.F.R. §395.33(a) provides the
SLA with a priority for award while 34 C.F.R. §                                                             if the
proposal received from the State Licensing Agency is judged to be within a competitive range and has been
                                                                                                                  48
ranked among those proposals which have a reasonable chance of being selected

29.      However, prior to award of this competitive source selection, the contracting officer must consult


property managing department, agency, or instrumentality, that such operation can be provided at a
                                                                                                             49
                                                                                                                  This
action by the Secretary permits the contracting officer to award a contract to the SLA at a price that may
be higher than the lowest priced, technically acceptable offer submitted during a competitive source
selection for FFS contract services.

30.      If the SLA                                                                        y file a complaint with
                                                        50
the Secretary

31.      The Secretary is then charged with appointing an arbitration panel to determine if the federal
                                                              Act or of this part and all informal attempts to


and to foster competition and reduce costs. The theory was that more competition for procurements would reduce
costs and allow more small businesses to win Federal Government contracts. Under CICA all procurements must be
competed as full and open (there are some exceptions found in FAR Part 6 ) so any qualified company can submit an
offer.

47
   34 C.F.R §395.33(d) Operation of cafeterias by blind vendors states:
(d) Notwithstanding the requirements of paragraphs (a) and (b) of this section, Federal property managing
departments, agencies, and instrumentalities may afford priority in the operation of cafeterias by blind vendors on
Federal property through direct negotiations with State licensing agencies whenever such department, agency, or
instrumentality determines, on an individual basis, that such operation can be provided at a reasonable cost, with
food of a high quality comparable to that currently provided employees: Provided, however, That the provisions of
paragraphs (a) and (b) of this section shall apply in the event that the negotiations authorized by this paragraph do
not result in a contract.

48
   Id.
49
   See 34 C.F.R. §395.33(a).
50
   See 34 C.F.R. §395.33(b).
                                                         78
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                                                         51
reso                                                          It is important to note that this arbitration panel is only
authorized to determine whether the Army violated the RSA or its regulations. 52

32.         When a sole source award is not accomplished under 34 C.F.R. §395.33(c), the RSA anticipates a
completive source selection to determine who is awarded a contract. The solicitation for that competitive
source selection is required to include criteria for award. 34 C.F.R. §                                      uch
solicitations for offers shall establish criteria under which all responses will be judged. Such criteria may
include sanitation practices, personnel, staffing, menu pricing and portion sizes, menu variety, budget and
                            53



33.         The parties agree that ODRS was invited to compete for award under solicitation W9124J-18-R-0024.
The solicitation did include the priority authorized by the RSA. ODRS did submit a proposal and that proposal
was not included within the competitive range. ORDS argues that the Army errored in determining that
           proposal under solicitation W9124J-18-R-0024 was not in the competitive range, as defined in FAR


the proposed price was unreasonably high; and (3) thus not competitive.
                      proposal was judged to not be within the competitive range and, therefore, was not ranked
among those proposals which have a reasonable chance of being selected for final award as required by 34
C.F.R. §395.33(a). The consequence of that determination was that the RSA priority did not apply and ODRS
no longer participated in the source selection.
34.         The majority relies on Dickinson v. Zurko, 527 U.S. 150,164 (1999) to apply a substantial evidence
burden on the SLA rather than the abuse of discretion standard normally applied by the courts in the review


deference, the courts will conduct a de novo review of the issues before the panel and apply the abuse of
discretion standard of review to the decisions of the Army contracting officer.
35.         The majority also relies on Randolph-Sheppard Vendors of America v. Weinberger, Supra., to opine


procurement decision. However, the majority fails to acknowledge the SourceAmerica decision below. The
district court sites                                                                                     , 668 F.3d at 650-
51 (2012) where the ninth circuit ruled Chevron deference does not apply to arbitration decisions under the
RSA.


51
     See 34 C.F.R. §395.37(a).
52
     Id.; Md. Dep't of Educ. v. Dep't of Veterans Affairs, 98 F.3d 165, 169 (4th Cir. 1996).
53
     Id.
                                                                79
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36.         The district court in SourceAmerica v. United States Dep't of Educ., 368 F. Supp. 3d 974, 995-996
(E.D. Va., March 15, 2019) opined on the review standard to be used in the review of a RSA Arbitration
decision. The court stated:


           The RSA makes clear that an RSA arbitration decision is "subject to appeal and review as a final
           agency action." 20 U.S.C. § 107d-2(a). And the RSA also acknowledges that the APA provides the
           standards for this review. In this respect, the APA provides that courts must "hold unlawful and set
           aside agency action, findings, and conclusions" that are "arbitrary, capricious, an abuse of discretion,
           or otherwise not in accordance with law" or are "in excess of statutory justification, authority, or
           limitations, or short of statutory right." 5 U.S.C. § 706(2)(A), (C).

           Judicial review of an RSA arbitration panel's decision is conducted de novo. Sauer v. Dep't of
           Educ., 668 F.3d 644, 650 (9th Cir. 2012). The arbitration decision must be set aside if it is "not in
           accordance with law." 5 U.S.C. § 706(2)(A); Sauer, 668 F.3d at 650. Importantly, the arbitration
           panel's interpretation of the RSA is not entitled to Chevron deference. Sauer, 668 F.3d at
           650. Chevron deference applies "only `when it appears that Congress delegated authority to the
           agency generally to make rules carrying the force of law, and that the agency interpretation claiming
           deference was promulgated in the exercise of that authority.'" Gonzales v. Oregon, 546 U.S. 243,
           255-56, 126 S.Ct. 904, 163 L.Ed.2d 748 (2006) (quoting United States v. Mead Corp., 533 U.S. 218,
           226-27, 121 S.Ct. 2164, 150 L.Ed.2d 292 (2001). As the Ninth Circuit has
           explained, Chevron "deference [to an RSA arbitration panel's interpretation] is inapplicable ...
           because the Act does not delegate interpretive authority to the arbitration panel; instead, it gives
           the Secretary of Education the responsibility of administering the Act and issuing interpretive
           regulations. See20 U.S.C. § 107(b)." Sauer, 668 F.3d at 650.54


           panel's decision is considered a final action of the Secretary for purposes of appeal, see § 107d-2(a),
           this is a legal fiction: an arbitration panel is composed of members appointed by the parties to the
           arbitration, not of Department of Education officials whose expertise merits ...
                                                      55
           deference." Sauer,668 F.3d at 650-

37.        The majority simply ignores the inconvenient truth expressed by courts. In a de novo review of


standard used by the majority. While a court may consider the opinion of the panel instructive, it is not
bound by that decision, nor it is required to limit its review to the reasonableness of a panel decision. The
court will conduct a de novo review the facts presented and render its own opinion.
38.        The panel has heard fact and opinion testimony that supplements the source selection information
used by the Army to exclude ODRS from the competitive range. In establishing a standard to determine if
there has been a violation of the RSA, the panel cannot rely on the RSA and its regulations because neither
the statute nor its regulations establish source selection criteria for establishing a competitive range. 34

54
     Id. at 368 F.Supp.3d 987
55
     Id.
                                                         80
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C.F.R. §                                           solicitations for offers shall establish criteria under which all
responses will be judged. Such criteria may include sanitation practices, personnel, staffing, menu pricing
and portion sizes, menu variety,                                          Id.
39.        I concur with the opinion of the majority that the Secretary is given the responsibility to prescribe
RSA regulations. While the Secretary has authority to define the latitude, if any, of a federal agency to place
a limitation on the placement or operation of a blind vending facility, the Secretary has not issued regulations
on this point. Since the opinion of the panel is not entitled to Chevron deference, the courts, not the RSA
arbitration panels, will define the impact of the RSA on federal agencies.
40.        Similarly, CICA and the Federal Acquisition Regulations (FAR) apply to source selections that include
the RSA priority. CICA provides the authority for a federal agency to award a contract to a SLA even when
the SLA
government. In addition, the FAR defines the source selection process so a competition for the award of a
dining hall services contract is possible. Even ODRS acknowledged that the FAR applied to this source
selection. 56
41.         The Army did not refuse to include the RSA priority in this source selection. Therefore, the Army
complied with the RSA statutory requirement to include the RSA priority in this competitive source selection.
42.        In the absence of statutory or regulatory guidance on the criteria to determine if ODRS should have


the FAR that control the competitive source selection process used by the Army to make an award decision.
                                                                                               -Sheppard Vending


publication is not a regulation and does not comply with the APA. While this document may be informative,
it is not a regulation issued by the Secretary that is binding on the Army. In addition, ODRS has failed to
document whether or not this document represents the current policy of the Secretary. The panel simply
does not have the authority to legislate and/or regulate the actions of a federal agency as regards the
determination of a federal contracting officer to include or exclude SLA from the competitive range.
43.        The solicitation included source selection terms as well as a number of regulatory and statutory
clauses that are required by the FAR and Army procurement regulations. ODRS did not object to these terms
and conditions nor did ODRS allege that the terms and conditions in the solicitation violated the RSA.
Solicitation W9124J-18-R-0024 included the RSA priority and ODRS submitted a proposal in response to this




56
     ODRS Post Hearing Response Brief at para. 58, pg. 25.
                                                             81
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                                    57
to the FAR. See FAR §
44.                                                                                                     The standard


range was stated in Southfork Systems v. United States, 141 F.3d 1124 (Fed. Cir, 1998). The review standard


the evaluation of each factor as part of a totality of the circumstances in order to determine whether a
proposal belonged in the competitive range. Southfork has not shown that the contracting officer
                             58
                                  This holding is consistent with 5 U.S.C. § 706(2)(A).
45.         Since the parties are not alleging a violation of the RSA as regards the invitation to submit a proposal
or the inclusion of the RSA priority, the matter before the panel is akin to a bid protest. ODRS is arguing the
                                                                                                  e panel to step into
the shoes of the contracting officer and substitute the judgement of the panel for the judgment of the
contracting officer. Since this is a question regarding the judgement of the contracting officer, it is instructive
to explore the United States Court of Federal Claims (COFC) for guidance as to how to evaluate the
                                                                                          Halter Marine, Inc. v. United
States, 56 Fed. Cl. 144, 172 (2003), the COFC summarized the review standard for matters such as this. The
court stated:

            Under an arbitrary or capricious standard, the reviewing court should not substitute its judgment
            for that of the agency but should review the basis for the agency decision to determine if it was
            legally permissible, reasonable, and supported by the facts.
            United States v. State Farm Mut. Auto. Ins. Co., 463 U.S. at 43, 103 S.Ct. 2856
            a reasona
            as an original proposition, have reached a different conclusion as to the proper administration
                                                               Honeywell, Inc. v. United States, 870 F.2d 644,
            648 (Fed.Cir. 1989) (quoting M. Steinthal & Co. v. Seamans, 455 F.2d 1289, 1301
            (D.C.Cir.1971)); see also Cybertech Group, Inc. v. United States, 48 Fed.Cl. 638, 646 (2001). As
            stated by the United States Supreme Court:


            an abuse of dis
            must consider whether the decision was based on a consideration of the relevant factors and
            whether there has been a clear error of judgment. Although this inquiry into the f acts is to be
            searching and careful, the ultimate standard of review is a narrow one. The court is not
            empowered to substitute its judgment for that of the agency.



57
     Id.
58
     Id. at para. 59.
                                                            82
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Citizens to Preserve Overton Park, Inc. v. Volpe, 401 U.S. 402, 416, 91 S.Ct. 814, 28 L.Ed.2d
136(1971) (citations omitted); see also Bowman Transp., Inc. v. Arkansas-Best Freight Sys.,
Inc., 419 U.S. 281, 285, 95 S.Ct. 438, 42 L.Ed.2d 447 (1974),         d, 420 U.S. 956, 95 S.Ct.
1340, 43 L.Ed.2d *158433 (1975); In re Sang-Su Lee, 277 F.3d at 1342; Advanced Data
Concepts, Inc. v. United States, 216 F.3d 1054
capricious standard applicable here is highly deferential. This standard requires a reviewing
court to sustain an agency action evincing rational reasoning and consideration of relevant
                 Bowman Transp., Inc. v. Arkansas-Best Freight Sys., Inc., 419 U.S. at
285, 95 S.Ct. 438); Lockheed Missiles & Space Co. v. Bentsen, 4 F.3d 955, 959 (Fed.
Cir.1993); ManTech Telecomms, and Info. Sys. Corp. v. United States, 49 Fed.Cl. at
63; Ellsworth Assocs., Inc. v. United States, 45 Fed.Cl. at 392
                                                                                          Florida
Power & Light Co. v. Lorian, 470 U.S. 729, 743-44, 105 S.Ct. 1598, 84 L.Ed.2d
643 (1985)); Redland Genstar, Inc. v. United States, 39 Fed.Cl. 220, 231 (1997); Mike Hooks,
Inc. v. United States, 39 Fed.Cl. 147, 154 (1997); Cincom Sys., Inc. v. United States, 37
Fed.Cl. 663, 672 (1997); Commercial Energies, Inc. v. United States, 20 Cl. Ct. 140, 145
                                                                               -award

omitted).

Similarly, in E.W. Bliss Co. v. United States, the United States Court of Appeals for the Federal
Circuit offered guidance on the applicable standard of review:

Procurement officials have substantial discretion to determine which proposal represents the
best value for the government. See Lockheed Missiles & Space Co., Inc. v. Bentsen, 4 F.3d
955, 958 (Fed.Cir.1993); cf. Widnall v. B3H, 75 F.3d 1577 (Fed. Cir.1996) (holding that Board of

                                                                          In re General
Offshore Corp., B-251969.5, B-251969.6, 94-

procurement, any proposal that fails to conform to material terms and conditions of the
solicitation should be considered unacceptable and may not form the basis for an award. Where

reasonable and consistent with the evaluation criteria and applicable statutes and regulations,
since the relative merit of competing proposals is primarily a matter of administrative

awarding the contract to Pressmasters.
H: * * * * *
                               procurement] deal with the minutiae of the procurement process
in such matters as technical ratings ... which involve discretionary determinations of
procurement officials that a court will not second guess. See Lockheed Missiles & Space
Co., 4 F.3d at 958; Grumman Data Systems Corp. v. Widnall, 15 F.3d 1044, 1048


E. W. Bliss Co. v. United States, 77 F.3d 445, 449 (Fed.Cir.1996);
United States, 49 Fed.Cl. 371, 388 (2001), aff'd 279 F.3d 985 (Fed.Cir.2002). Id at 157-8.

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46.     The Government Accountability Office (GAO) is an administrative body with authority to review
federal procurement source selection decisions. The GAO reviews the actions of the procuring agency to


evaluation criteria.59 The GAO has taken the position that the GAO lacks jurisdiction to hear an SLA
challenge to its elimination from the competitive range. 60 However, that does not mean that the panel can
ignore the GAO review standard to determine if the elimination of ODRS from the competitive range under
these set of facts is a violation of the RSA. The GAO is the federal agency with subject matter expertise on


when competing for the award of federal contract services

47.     For example, the GAO as stated that:

        In considering protests that challenge the pr

        ensure that it is consistent with the terms of the solicitation and applicable statutes and regulations.
                         -402558.3, B-

        to the evaluation. OPTIMUS Corp., B-400777, Jan. 26, 2009, 2009 CPD¶ 33 at 6. 61

48.     The GAO will not challenge the past performance evaluation of an agency unless the GAO finds the
evaluation was unreasonable, inconsistent with the solicitation criteria or undocumented. 62
49.     Even when the contractor disputes the


reasonable perception of inadequate prior performance. 63
50.     The panel should have looked to GAO decisions and court precedent as instructive as to whether


discretion and, if so, whether the exclusion of ODRS from the competitive range was a violation of the RSA.
51.     The panel relies heavily on allegations of bias and an alleged conflict of interest by the
Army Contracting Officer Representative (COR), Mr. Buchanan, 64 who conducted regular inspections of the
dining hall facility where ODRS was performing FFS contract services through is licensed vendors and their
team partners. The majority finds that Mr. Buchanan had a clear conflict of interest because he was not a


59
   All Phase Servs., Inc., B-406856, Aug. 17, 2012, 2012 CPD ¶ 274 at 4.
60
   Georgia Bus. Enter. Programing-Vocal Rehab. Agency, B-416182.2, Nov. 23, 2018, 2018 CPD ¶ 400 at 4.
61
   GHG Corp., B-407949, Apr. 12, 2013, 2013 CPD ¶ 102 at 2.
62
   Sonetronics, Inc., B-289459.2, Mar. 18, 2002, 2002 CPD ¶ 48 at 3; IGIT,Inc., B-275299.2, June 23, 1997, 97-2 CPD ¶ 7
at 5.
63
   Ready Transp., Inc., B-285283.3, B-285283.4, May 8, 2001, 2001 CPD ¶ 90 at 5.
64
   TR. 1-176:12-15.
                                                          84
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person that was able to render impartial assistance or advice to the Government. This finding is based on
alleged bias and aggressive documentation of contract deficiencies. Little weight is given to the
undisputed fact that Mr. Buchanan was not the only person involved in the evaluation of the past
performance of ODRS. There is also no acknowledgement that Mr. Buchanan may have been just doing his
job.
52.        Mr. Stevens was the contracting officer responsible for the solicitation, evaluation and award of
the contract.65 ODRS has not argued that Mr. Stevens was biased in this source selection. He was
responsible for the award of the contract, including the source selection process used to determine who is
awarded a contract.          After award, the responsibility for the administration of the contract is transferred
                                                                                                  66
to the local contracting office who
53.        The majority gives little weight to the actions taken by the Army to limit the possibility for bias
during source selection. The source selection process involved separate teams that evaluated parts of an




technical requirements of the solicitation. A different team evaluated the past performance of offerors.
Finally, a pricing team conducted a cost and price analysis of proposals.67 Each team was sequestered from
the other two teams, so the three teams did not have access to proposal information that was evaluated
by another team. The names of the offerors were redacted so the members of these evaluation teams did
not know the name of an offeror who submitted a proposal. This is standard practice to help ensure any
personal bias against any particular offeror is eliminated from the review process. 68
54.
performance report to the contracting officer, Mr. Stevens. The Report was added to the source selection
file. Mr. Stevens accepted and reviewed the report. He found nothing in the report that suggested bias by
either Mr. Colson or Mr. Buchanan.69
55.
failed to consider other relevant information that ODRS provided the Army regarding local COR reports and
investigations, and a confidential survey from Ft. Sam Houston. However, there is no reference to the
broad range of past performance information that was evaluated by the Army that included review and



65
   TR. Stevens, pg. 2-256.
66
   TR. 2-259.
67
   TR. 2-277.
68
     TR. 2-270 to 2-274.
69
     TR. 2-298 to 2-301.
                                                           85
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the COR monthly reports, quality assurance inspections and monthly meeting notes that were
communicated to ODRS on 25 February 2019.
56.      The following is a summary of some of the other relevant past performance information evaluated
by the Army prior to making a decision regarding past performance:


         (a)                                                                                 documented
                                                                       Performance report for ODRS.70
         (b)      A review of the information in PPIRS (past performance information record system),
which found ODRS received unsatisfactory ratings in management, and unsatisfactory ratings in
regulatory compliance for the performance period between 1 April 2016 to 31 March 2017. The PPIRS
information also showed ODRS received a marginal rating in management and a marginal rating in
regulatory compliance for performance period between 1 April 2017 to 31 March 2018. The
contracting officer noted she would not recommend contracting with ODRS again for this
requirement.71
         (c)      A review of the COR monthly reports for ODRS Fort Sill contracts for the performance
period from January 2018 to January 2019. This review included the associated quality assurance
inspection reports. These monthly reports showed a continued and trending unsatisfactory to
marginal performance concerning sanitation issues, cooking issues, deliverables, and customer
satisfaction, staffing.72
         (d)
which included the above COR monthly reports, quality assurance inspections, monthly meeting
notes that were communicated to ODRS on 25 February 2019.73

         (e)


                                   74



57.      Upon receipt of the Technical Report, Past Performance Report and Pricing Report, Mr. Stevens
initiated the competitive range determination. The competitive range determination summarized the
evaluation results of the Technical Panel, the Past Performance Panel and the Pricing Team. In


70
   See ODRS Exhibit 11 and Agency Record Tab 64, pages 4233-4245.
71
   Id.
72
   Id.
73
   Id.
74
   Id., pages 4242 to 4243 and Mr. Stevens testimony at TR 2-296-207
                                                        86
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addition to Technical and Pricing issues, the document summarized offerors whose past performance
was acceptable or unacceptable.75

58.                                                                                              nd
prudent action to ensure an open and transparent source selection process that treated all offers
equally and provided an objective evaluation of the ODRS proposal.

59.     Upon notice that ODRS was not determined to be in the competitive range, ODRS initiated
administrative and legal proceedings that prevented the Army from awarding the contract to Mitchco
who submitted the lowest price technically acceptable offer. 76 Mr. Stevens discussed the CICA stay that
prevented an award to Mitchco. Since the requirement to feed the troops remained, the contract
with ODRS had to be extended to avoid a brake in service. The CICA stay and the need to continue FFS
                                                                                                 77



60.     Ms. Abraham provided testimony as the administrative contracting officer (ACO) for contract
W9124L-16-D-0001.78 Ms. Abraham administered the contract from the end of 2017 to the middle of
                                                                              e under contract
W9124L-16-D-0001.79 Ms. Abraham testified that the Army Logistics Readiness Center (LRC), who is
responsible for Army food service, made the decision to not exercise the option under contract
W9124L-16-D-0001. She did not know the exact re
contract option, but the LRC was dissatisfied with the performance of ODRS. 80

61.     Ms. Abraham was the contracting officer for the bridge contract that continued FFS contract
services during the source selection process for solicitation W9124J-18-R-0024. This interim contract
was executed to ensure a continuation of FFS services during the gap in contract coverage from the
end of ODRS contract, W9124L-16-D-0001, and the beginning of contract W9124J-19-D0012 with
Mitcho.81 In her role as contracting officer, she certified that ODRS was a responsible contractor to
perform the bridge contract.82
termination of the contract was not warranted; therefore, ODRS was a responsible contractor for the


75
   TR. 2-300.
76
   TR. 2-310.
77
   TR. 2-306 to 2-309.
78
   TR. 1-313.
79
   TR. 1-314.
80
   TR. 1-314 to 1-317.
81
   TR. 1-331 to 332.
82
   TR. 1-347.
                                                     87
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bridge contract.83 She was not accountable for determining if ODRS was a responsible contractor for
award of the contract under solicitation W9124J-18-R-0024.

62.       ODRS argues that the testimony of Ms. Abraham establishes that ODRS was a responsible
                                                                                            -18-R-0024 was
flawed. Ms. Abraham clearly limited her certification to the bridge contract. As Mr. Stevens testified,
the CICA stay gives the government more latitude in negotiating a sole source bridge contract to the
contractor providing services under the expiring contract because the soldiers need to be fed so they
can continue their mission.84

63.       The administrative record includes inspections by the Installation Medical Authority (IMA) for
compliance with certain contract requirements. These inspections were conducted monthly at Fort


Two
However, these inspections are not a substitute for the inspections of the COR, Mr. Buchanan, who
conducted regular inspections of the dining hall facility for compliance with the full range of contract
requirements included in the ODRS contract. While the IMA found the facility was clean, the COR


evidence that ODRS had performance issues over the life of the contract. ODRS replaced the original
licensed agent with Cantu Services because of performance issues of the replaced licensee. 85

64.       From October 1, 2001 to September 30, 2015, ODRS, through a licensed blind vendor and his
teaming partner, provided cafeteria services at Fort Sill for multiple dining facilities. Each contract
covered all of the dining facilities and was for five (5) years, consisting of a base year with four one-year
options.86

65.       Initially, the blind licensed vendor for ODRS was Mr. Robert Brown along with his teaming
partner, Blackstone. This management team managed the contract for a time. 87 However, in 2017, Ft.
Sill believed it had "relationship" problems with the blind manager, Robert Brown, and rated his
management on the 2016 Contract as unsatisfactory from April, 2016 through March 31, 2017. 88


83
     TR. 3-14.
84
     TR. 2-306.
85
   ODRS Ex. 11 at AR 4233.
86
   See R/S 15-10, September 2, 2016, available at https://www2.ed.gov/programs/rsarsp/arbitration- decisions/r-s-
15-10.pdf
87
  TR1-177-178.
88
  ODRS Ex. 11 at AR 4233-4234.
                                                        88
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66.     August 1, 2017, ODRS replaced the management team on both contracts with a new manager,
David Altstatt, and his new teaming partner, Cantu Services, Inc. 89 Cantu remained as the teaming
                                                                     Army. The facts support a history
of performance issues by ODRS licensed vendors at Fort Sill prior to the transfer of management to Mr.
Altstatt and Cantu Services.

67.     ODRS complained to the Contracting Officer, Ms. Abraham, on numerous occasions that Mr.


letter dated October 11, 201790; letter dated October 16, 201791; letter dated December 11, 201792;
164-167 (letter dated January 11, 2018, memo attached93; letter dated March 26, 201894; letter dated
September 6, 201895; letter dated October 22, 2017, forwarded to Army.96

68.      25 February 2019 and during the initial evaluation of proposals, the Army sent a
communication to ODRS under the authority of Federal Acquisition Regulation (FAR) 15.306(b)(i).
These communications with ODRS were conducted before establishment of the competitive range. The
                      pose was to provide ODRS with the opportunity to review and respond to the
adverse past performance information concerning contract W9124L-16-D-0001 and contract W9124J-
09-D-0003. The adverse performance information included internal Army COR reports, quality
assurance inspections reports, monthly meetings between the Army and ODRS, interactive customer
entries comments (ICE comments), and other information that the Army was seeking feedback from
ODRS to utilize in establishing the competitive range.

69.     On
adverse past performance. ODRS was therefore given an opportunity to address a full range of internal
COR reports as well as a full range of negative past performance information and provide its feedback
to the Army prior to the decision of the Army to exclude ODRS from the competitive range.

70.     The source selection team, therefore, had conflicting past performance information when it
                                             reports and other inspection documentation. The panel



89
  ODRS Ex. 11 at AR 4233.
90
  ODRS Exs. 17 & 18 at ODRS at 114-116.
91
   Id. at 121-123.
92
   Id. at 140-147.
93
   Id. at 164-167.
94
   Id. at 173-186.
95
   Id. at 188-192.
96
   Id. at 208-218.
                                                     89
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has been presented with a long record of facts. Depending on the interpretation and selection of facts,
reasonable people can come to different conclusions. The majority has selected facts that suggest
errors by the Army while ignoring facts that support actions by the Army to limit bias and encourage



71.      In addition, the panel not only had testimony from Army personnel, the panel also had direct
                                                              David Altstatt, and his teaming partner,
Cantu Services, Inc. These former employees now work for Mitchco under the new contract and the
majority has given little weight to their testimony. However, there is no allegation that the facts
presented by these witnesses is false. Their sworn testimony is unchallenged. The facts presented
support another unfortunate truth, ODRS did have performance issues during the performance of this
contract. The testimony of these witnesses describes a Cantu Service corporate culture that supports



72.      Mr. Marco Lindsay testified as to ODRS past performance issues. He was a project manager for
Cantu Services from November 21, 2017 to April 15, 2019 under contract W9124L-16-D-0001. 97           He
                                                                              98
                                                                                   The highest number of
complaints by the Army was undercooked food.99 The government did write up the contractor for
improper cooking.100 As an example, cooks were being asked to cook 40 cases of chicken when they
should have scheduled to cook 10 cases. Rather than one cook, there should have been four. 101            He
described an example where one cook was taking shortcuts in order to get the food out on the line.
The food was cooked on the outside but raw on the inside. 102

73.      When he started performance as project manager, staffing was a major issue for him. Staffing
was established by Cantu Corporate.103 He opined that this short staffing was done to benefit Cantu
because it would reduce cost and increase profit.104 He did not know if understaffing was Cantu
                                                  105
                                                        If he, as project manager, did not meet certain



97
   TR. 3-37.
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   TR. 3-40.
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   TR. 3-42.
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    TR. 3-56.
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    TR. 3-45.
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    TR. 3-46.
103
    TR. 3-44.
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    TR. 3-46.
105
    TR. 3-49.
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man-hour targets, Mr. Cantu would call him to ask him why he was wasting hours. 106 Mr. Lindsay was
directed to not replace staff who called in and were not present to work (no-shows). He was directed
                                           107
to make the existing
                108
                      Mr. Cantu would challenge him to explain why the company was receiving low
ratings while Mr. Lindsay and the QC manager received high ratings. 109

74.     Thelma Bunn, an assistant manager for Cantu on the ODRS contract, provided testimony
describing an operating culture similar to the testimony provided by Mr. Lindsay. 110 She observed
undercooked chicken.111 Understaffed cooks.112 Time and temperature check not being performed.113
Inadequate sanitation.114 Working in her building until 2 or 3 in the morning to clean the facility
because management would not approve overtime of staff to assist her in cleaning the facility. 115
Improper storage of food, exposing raw food items.116 Not preparing required menu items.117 Missing
high value substance items.118 Dirty cookware and dinnerware provided to soldiers.119 Failing to pay for
vacation hours at the expiration of the contract.120 Submitting rosters to the Government that included
no-shows as if they were present.121

75.
while the COR found discrepancies in other areas of contract performance. Thelma Bunn took personal
responsibility for cleaning the facilities even if she had to work until 2AM by herself because Cantu
would not approve overtime. But there were other contract issues that she could not address because
of understaffing. It is therefore reasonable for the facility to be spotless while food was stored
improperly, and undercooked food was served to soldiers. While the documented cases of



106
    TR. 3-49.
107
    TR. 3-50.
108
    TR. 3-51.
109
    TR. 3-52.
110
    T.R.3-176 to 3-256.
111
    TR.190.
112
    TR. 3-191.
113
    TR.3-205.
114
    TR. 3-207.
115
    TR.3-210
116
    TR.3-214.
117
    TR. 3-216.
118
    TR. 3-220.
119
    TR.3-222.
120
    TR.3-226.
121
    TR. 3-252.
                                                      91
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undercooked food may have been small as compared to the number of meals served. This does not
                                                                In addition, there is documented
evidence and now testimony of systemic operational issues that warranted documentation and
inspection by the Army.

76.
by the COR. If the COR inspection reports were not challenged and Cantu received an unsatisfactory
performance rating like the prior licensee, Cantu had a reasonable concern that ODRS would replace
them with another blind vendor licensee and teaming partner. Cantu was well aware of the fact that
ODRS had replaced the blind licensed vendor, Mr. Robert Brown, along with his partner, Blackstone,
because of an unsatisfactory performance rating at Fort Sill.

77.     As noted above, the Army released a broad range of documentation to ODRS for comment and
ODRS was provided an opportunity to address any negative information contained in those reports.
The majority suggests that the Army ignored the responses from ODRS, but that is not supported by
the testimony and documentation presented to the panel. To the contrary, the testimony of Mr.
Stevens suggests the Army took deliberate steps to provide a structured, disciplined and transparent
process to conduct a past performance evaluation that included not only negative ODRS information



78.     If soldiers had the option of purchasing food from any number of commercial restaurants, it is
not unreasonable to assume they would avoid spending their money at a restaurant that served
undercooked food. If Cantu Services was running its own family restaurant and served undercooked
food, it would lose customers with a high probably that it would go out of business. Since soldiers do
not have the option of buying their meals at a number of different restaurants who are all
competing for that business, it is reasonable to require ODRS to provide soldiers with fully cooked
food. It is also reasonable for the Army to insist Cantu Services and ODRS comply with the terms of
the contract.

79.     Given the contracting officer had broad discretion to consider the evaluation of each factor
as part of a totality of the circumstances in order to determine whether a proposal belonged in the
competitive range, ODRS has not shown that the contracting officer abused his discretion when


                                                                     mentation used by the Army to



                                                     92
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serious performance issues by the ODRS licensed blind vendor and his teaming partner, Cantu
Services, during contract performance. As discussed above, the panel, like the courts, should not
substitute its judgments for pre-award procurement decisions unless the agency clearly acted
irrationally or unreasonably. ODRS has simply failed to demonstrate that the Army abused its
discretion in

80.
One of the major drivers was to standardize the competition of FFS contract competitions. The goal was to
increase competition, comply with the RSA, and realize savings. 122 Since the use of the standardized
enterprise approach to FFS contract competitions, the Army has been able to provide quality food service
while savings millions of dollars a year. The program goal is to save about five percent a year. Over the life
of the current contracts, the Army has saved about sixteen (16) percent. These savings have not
significantly impacted the number of contracts awarded to SLAs. He testified that, to date, there has been
only one other FFS contract that was not awarded to an SLA. For the source selection that did not result in
an award to the SLA, the SLA did not submit a proposal. 123 Since all contracting officers have an obligation
to be good stewards of t
addition, these competitions provide documentation to assist contracting officers in their consultation with
the Secretary since the Secretary is required by the RSA to determine if the price submitted is
reasonable.124

81.      I concur with the finding of the majority that the price proposed by ODRS was unreasonably high.
However, I am unwilling to speculate that meaningful discussions with ORDS would result in a fair and
reasonable price. The majority charges that the Army improperly chose not to conduct meaningful
discussions with ODRS. Their position is that the Army was required to clarify issues regarding anticipated
daily head counts. The majority speculates that if the Army had conducted these meaningful discussions,
ORDR would have submitted a price acceptable to the Army. However, the majority fails to acknowledge


if they had this information.125

82.       Solicitation W9124J-18-R-




122
    TR. 2-258.
123
    TR. 2-259.
124
    See 34 C.F.R. §395.33(a).
125
    TR1-149.
                                                      93
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a payment system based on meal bands.126 This payment strategy was designed to address the fact that
different numbers of soldiers would go through a dining facility for breakfast, lunch or dinner. For
example, a meal band could be from a low end of 100 meals up to a high-end of 1500 meals or a low-end
of 1500 meals to a high end of 3,000 meals.127 The meal bands give some idea as to the staffing required in
a dining facility for the number of soldiers to be served.128

83.      Offerors were given historical data to assist them in their pricing and, in the opinion of Mr.
Stevens, put all offerors on a very equal playing field, so they should all be able to properly staff for a
meal band.129 He acknowledged that labor costs are the preponderance or the majority of cost of a
services contract and that the cost of labor is partially set by union contract. 130 Mr. Stevens opined the
number of contractor staff is not necessarily dependent on the number of meals served because,
depending on the circumstances, efficiencies may be possible. 131 MR. Stevens acknowledged that he
was not an expert in full food service management, rather, his expertise was contracting. 132

84.      In preparing proposals, offerors completed a matrix where they entered a unit price. This unit
pricing allowed the source selection team to establish a total evaluated price and whether that price
was going to be acceptable or not.133 Mr. Stevens was not part of the team that established meal bands
and did not know the reasoning behind that decision. He did not testify as to how these meals bands
would work during contract performance.134
shall be determined by the contractor using AFMIS data and Government-provided variances. The
Government will provide the variance data in accordance with standard operating procedures at the
              135
                    This data was both historical data and current data as to the number of soldiers fed for
a meal for a day.136

85.


         They can bid howe
         how it best suits them based on their knowledge of the requirement, based on their knowledge

126
    TR.1-72.
127
    TR. 1-72.
128
    TR.1-72,
129
    TR.1-73.
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    TR. 1-81 10 1-82.
131
    TR.1-82.
132
    TR. 1-84.
133
    TR. 1-94.
134
    TR.1-113.
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    TR. 1-118.
136
    TR. 1-119.
                                                         94
              Case 5:20-cv-01200-JD Document 1-1 Filed 11/25/20 Page 95 of 97



                                                                          - - and we as the Government
           have no control over that. I am not going to try to guess how one contractor or one offeror is
           going to propose on a contract. They have to take it as their own business decision. Am I going
           to bid mid? Am I going to bid low? Am I going to bid high? Am I going to use historical data to

           part of my bid process?137


84.        Mr. Stevens testified that discussions were not anticipated. The Government could have
conducted discussions if the Army felt it was necessary but since ODRS was not in the competitive
range, discussions with ODRS were not held. One of the main reasons ODRS was not included in the
competitive range was its past performance
plus million dollars higher than the low responsive offeror and he did not see how the Army could get
ODRS to an acceptable price even if ODRS had acceptable past performance. 138
85.        The solicitation was not amended to provide additional information to offerors to assist in their
pricing. The Army received seven proposals. Two of those proposals were included in the competitive
range. These two proposals were found to be technically acceptable with acceptable past performance
and a price that was reasonable. These two proposals represented the two lowest priced offers among
the technically acceptable proposals.139
86.        The exclusion of the five offerors from the competitive range was based on their initial
evaluations where the proposals were rated as one or more of the following: (1) technically
unacceptable, (2) unacceptable past performance and/or (3) unreasonably high price that was not
competitive with the other prices, or the price was unreasonably and not competitive. 140
87.        Prior to submission of proposals, the Army conducted a site visit. ODRS was present during the
site visit. In response to a question raised at the site visit, the Army stated that the contractor would be
put on notice of projected meal counts, generally three days in advance.141 While the three-day notice
was not included in the contract, all offerors who attended the site visit were aware that the advance
notice of projected meal counts was anticipated during contract performance. In addition, all offerors
had access to historical meal count data and current meal count data. Therefore, all offerors had access
to the same information that was provided by the Army.




137
      TR. 1-136.
138
    TR. 1-144.
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    See ODRS exhibit 12 and Agency Record Tab 65, pages 4252-4299.
140
    Id.
141
    TR. 2-177.
                                                        95
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88.       ODRS argues that the Army is required to place ODRS in the competitive range so ODRS can
have meaningful discussions with the Army to negotiate a competitive price. This argument assumes
that the Army must put the SLA in the competitive range regardless of the terms of the solicitation
because meaningful discussions with the SLA are required in all source selections where the RSA
applies. This argument is not supported by the RSA or its implementing regulations. Neither the RSA
nor its implementing regulations require the federal agency place the SLA within the competitive range
and conduct meaningful discussions with the SLA in all competitive source selections.
89.       In addition, there is no requirement in the RSA for a federal agency to justify to the Secretary
why a SLA is not included within the competitive range. The RSA implementing regulations only require
                                                              if the proposal received from the State
Licensing Agency is judged to be within a competitive range and has been ranked among those
proposals which have a reas                                                          34 C.F.R. §395.33(a).
90.       In this competitive acquisition, the contracting officer made a determination that ODRS was not
in the competitive range and, therefore, did not have a reasonable chance of being selected for final
award. The competitive source selection process will become extremely complicated and lengthy if the
RSA requires the inclusion of the SLA proposal in the competitive range in all cases.
91.       The federal agency would be required to put the source selection on hold and attempt to
negotiate a competitive price. If the parties were unable to agree to a reasonable price, the federal
agency would have to justify a non-award to the Secretary. The Secretary would need to make a
decision as to whether the Secretary agreed with the federal agency or disagreed with the federal
agency.
92.       If the Secretary agreed with the federal agency, the federal agency could award to the offeror
who submitted a proposal consistent the terms of the solicitation and the source selection criteria


could ask for an arbitration to review the decision of the federal agency. Technically, under the rules
and regulations of the RSA as discussed above, this arbitration would need to be completed before a
court had jurisdiction to hear the case. The question is then whose decision is in question. The decision
of the Secretary that agrees with the federal agency or the decision of the federal agency that had
determined the price is unreasonable. If the decision of the panel is correct, then there are a number of
significant and numerous untended consequences. This interpretation of the RSA would greatly
increase the time required to conduct a competitive source selection where the RSA applies and would
greatly increase the involvement of the Secretary in source selection decisions. Such a position is not
supported by the RSA
                                                       96
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93.        There is no allegation that the Army conducted its price analysis for reasonableness, balance
and completeness in violation of FAR 15.404-1(b). The Army documented its findings in the price
report, source selection report and competitive range determination. There no allegation that the Army
us


price among technical acceptable offers, and historical pricing at Fort Sill for dinning facility services was
in violation of the terms in the solicitation.
94.        The majority decision finds that a federal agency has an obligation to conduct meaningful
discussions with the SLA even when the price of the SLA is unreasonable, and the federal agency has
excluded the SLA from the competitive range. This position of the majority is not supported by the RSA.
The majority is speculating that meaningful discussions would have resulted in a reasonable price from
ODRS. Even ODRS counsel refused to speculate whether ODRS would change its price, stating:


           So, we give it to everybody, okay. So, I cannot speculate whether ODRS would change their
           proposal if they had additional information. I do know that we had offerors that did not have
           any additional information outside of what ODRS did. It had technically acceptable comparable
           competitive rates or pricing so it was actually three that did it so. 142

95.        Since there is documentation and testimony of past performance issues and agreement that




was unreasonable is supported by the record. The RSA does not include a mandatory requirement to
include the SLA proposal in the competitive range and conduct meaningful discussions in all competitive
source selections. Finally, even if the Army conducted meaningful discussions with ODRS, it is only
speculation that ODRS would reduce its price to a competitive level. Therefore, the Army did not
violate the RSA by excluding ODRS from the competitive range.




142
      TR. 1-149.
                                                       97
